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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

 DEREK WASKUL, by his guardian, Cynthia Waskul;
 CORY SCHNEIDER, by his guardians, Martha and Wendy Schneider;
 KEVIN WIESNER, by his guardian, Kerry Kafafian;
 ROGER ERLANDSON, by his guardian, Maureen Forrest;
 LINDSAY TRABUE, by her guardian, Kristin Kill;
 HANNAH ERNST, by her guardians, Susan and Robert Ernst;
 and WASHTENAW ASSOCIATION FOR COMMUNITY ADVOCACY,


       Plaintiffs,                               No. 2:16-cv-10936-AJT-EAS

 v.                                              Hon. Arthur J. Tarnow

                                                 Hon. Elizabeth A. Stafford

 WASHTENAW COUNTY COMMUNITY
 MENTAL HEALTH; TRISH CORTES, in her official
 capacity as Director of Washtenaw County Community
 Mental Health; MICHIGAN DEPARTMENT OF
 HEALTH AND HUMAN SERVICES; ROBERT GORDON, in
 his official capacity as Director of Michigan Department of
 Health and Human Services; JANE TERWILLIGER
 in her official capacity as Director of Community
 Mental Health Partnership of Southeast Michigan; and
 COMMUNITY MENTAL HEALTH PARTNERSHIP OF
 SOUTHEAST MICHIGAN,

      Defendants.
 __________________________________/

   PLAINTIFFS’ FIRST AMENDED AND SUPPLEMENTAL COMPLAINT




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 This First Amended and Supplemental Complaint is identical to the document an-
 nexed to the motion for leave to file, except for (a) updating the signature block
 and the filing and service dates, (b) substituting Director Gordon for former Direc-
 tor Lyon, pursuant to Fed. R. Civ. P. 25(d), and (c) correction of the citation error
 in paragraph 466(b), as noted in open court on February 6, 2019.




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 Plaintiffs allege:

                           PRELIMINARY STATEMENT

        1.     This is an action to restore services and supports Defendants are obli-

               gated to provide to the individual Plaintiffs and those similarly situat-

               ed to enable them to avoid institutionalization.

        2.     Plaintiffs are (a) six severely developmentally-disabled adults receiv-

               ing medically necessary Community Living Support (CLS) services

               through Washtenaw County Community Mental Health (WCCMH),

               which allow them to avoid institutionalization, and (b) the Washtenaw

               Association for Community Advocacy (WACA), a non-profit organi-

               zation that, among other things, advocates for persons with develop-

               mental disabilities and their families in order to help them obtain and

               maintain services.

        3.     Prior to May 2015, Plaintiffs and the members of WACA received

               medically necessary CLS services and supports in accordance with

               their individual plans of service (IPOSs), pursuant to budgets that

               properly provided for the cost of obtaining those services and sup-

               ports.

        4.     In May 2015, however, Defendants changed the budgeting methodol-

               ogy and improperly imposed top-down caps on the amounts that


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             Plaintiffs could pay for their medically necessary services and sup-

             ports. Instead of determining what services and supports were neces-

             sary and budgeting for them, Defendants now imposed an artificial

             cap on a medically irrelevant “rate” that they used for their own inter-

             nal accounting and statistical reporting purposes, and they required all

             aspects of Plaintiffs’ budgets to be included within that single “rate.”

       5.    Defendants effected this change simply to save money, without regard

             for the impact on those they were duty-bound to serve and without

             providing proper notice or a truthful description of what it was they

             were doing.

       6.    As a result of the budgeting change, Plaintiffs have faced severe cut-

             backs in services and are at risk of institutionalization.

       7.    Plaintiffs bring this action pursuant to 42 U.S.C. § 1983, 42 U.S.C.

             § 12133, and 29 U.S.C. § 794a based on violations of their rights ex-

             pressly conferred by the Social Security Act, the Americans with Dis-

             abilities Act, the Rehabilitation Act, and the United States Constitu-

             tion. Plaintiffs bring additional state claims pursuant to Michigan's

             Mental Health Code and as third-party beneficiaries of the contract

             whereby Defendant Michigan Department of Health and Human Ser-

             vices (MDHHS) delegated certain implementation of the Medicaid


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             program at issue to Defendant Community Mental Health Partnership

             of Southeast Michigan (CMHPSM).

                         JURISDICTION AND VENUE

       8.    This Court has jurisdiction over Plaintiffs' federal and constitutional

             claims under 28 U.S.C. § 1331.

       9.    This Court has supplemental jurisdiction over Plaintiffs’ state law

             claims under 28 U.S.C. § 1367(a).

       10.   Venue in the Eastern District is proper because Plaintiffs reside in

             Washtenaw County, Michigan, and because all the events complained

             of herein occurred in Washtenaw County, Michigan. Washtenaw

             County is in the Eastern District of Michigan.

                                    PARTIES

       11.   Individual plaintiffs, Derek Waskul (guardian Cynthia Waskul), Cory

             Schneider (guardians Martha Schneider and Wendy Schneider), Kevin

             Wiesner (guardian Kerry Kafafian), Roger Erlandson (guardian

             Maureen Forrest), Lindsay Trabue (guardian Kristin Kill), and Han-

             nah Ernst (guardians Susan and Robert Ernst) are residents of

             Washtenaw County, Michigan and Medicaid recipients. All are partic-

             ipants in the CLS program offered under Michigan’s Medicaid Habili-




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             tation Supports Waiver (HSW) and administered by WCCMH and its

             predecessor, the Washtenaw Community Health Organization.

       12.   Guardians for the individual Plaintiffs are suing on Plaintiffs’ behalf

             pursuant to Fed. R. Civ. P. 17(c)(1)(A).

       13.   WACA brings this action on behalf of its members who have been di-

             rectly affected by Defendants’ unlawful policies and practices.

       14.   Defendant WCCMH is a community mental health authority created

             pursuant to MCL 330.1205. It provides mental health services to

             Washtenaw County adults with a severe and persistent mental illness,

             children with a severe emotional disturbance, and individuals with a

             developmental disability.

       15.   Trish Cortes is the Director of WCCMH and is being sued in her offi-

             cial capacity.

       16.   Robert Gordon is the Director of Michigan’s Department of Health

             and Human Services (MDHHS, or the Department) and is being sued

             in his official capacity. Mr. Gordon is the successor in office to Nick

             Lyon and is substituted pursuant to Fed.R.Civ.P. 25(d). The Depart-

             ment itself is also made a defendant herein, but solely on Count VI.

       17.   The Department is the single state agency responsible for administer-

             ing Medicaid in Michigan. 42 U.S.C. § 1396a(a)(5).


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       18.   Jane Terwilliger is the Executive Director of the Community Mental

             Health Partnership of Southeast Michigan (CMHPSM) and is being

             sued in her official capacity.

       19.   The CMHPSM is a specialty prepaid inpatient health plan (PIHP) and

             is considered a Medicaid managed care organization under MCL

             400.109f.

       20.   Medicaid managed care organizations are responsible for making

             medical assistance available and accessible to Medicaid beneficiaries

             within their region. 42 U.S.C. § 1396b(m).

                                       FACTS

    A. The Medicaid Program and the Habilitation Supports Waiver

       21.   The Medicaid program is jointly funded and administered by the state

             and federal governments under Title XIX of the Social Security Act.

       22.   The Medicaid program provides medical assistance for certain low in-

             come children, families, pregnant women, disabled adults, and elderly

             people.

       23.   The Medicaid Act creates a “cooperative federal-state program”

             through which states that elect to participate receive federal financial

             assistance to pay for the medical treatment of specific groups of needy

             individuals.


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        24.   Michigan must operate its Medicaid program in compliance with fed-

              eral Medicaid statutes and regulations and other federal laws, includ-

              ing the Americans with Disabilities Act and the Rehabilitation Act.

        25.   To receive federal funding, states, including Michigan, are required

              first to formulate a plan that meets federal requirements.

        26.   Michigan must submit its plan to the federal Centers for Medicare and

              Medicaid Services (CMS), specifying how the Medicaid program will

              be administered in the State. This is called the State Plan. 42 U.S.C.

              § 1396a(a). The State Plan contains and describes the nature and

              scope of the State’s Medicaid program. 42 C.F.R. § 430.10.

        27.   Federal law requires that each State Plan “provide for the establish-

              ment or designation of a single State agency to administer or to super-

              vise the administration of” the Plan. 42 U.S.C. § 1396a(a)(5); see 42

              C.F.R. § 431.10(b)(1). In Michigan, as alleged above, MDHHS is that

              “single state agency,” and Defendant Gordon is its administrator.

        28.   The designated agency may not delegate to others its “authority to su-

              pervise the plan or to develop or issue policies, rules, and regulations

              or program matter.” 42 C.F.R. § 431.10(e).

        29.   The State must ensure, through its contracts, that each MCO (Man-

              aged Care Organization), PIHP (Prepaid Inpatient Health Plan), and


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              PAHP (Prepaid Ambulatory Health Plan) oversees and is accountable

              for any functions and responsibilities that it delegates to any subcon-

              tractor. 42 C.F.R. § 438.230. As alleged below, MDHHS, through De-

              fendant Gordon, has implemented this obligation in its contract with

              Defendant CMHPSM but has failed to ensure Defendant CMHPSM’s

              compliance with that contract.

        30.   A state’s plan must provide coverage to seven designated classes of

              needy individuals, termed “categorically needy,” for at least seven

              specific kinds of medical care or services. See 42 U.S.C.

              §§ 1396a(a)(10)(A)(i), 1396d(a).

        31.   A state may, if it chooses, extend this coverage to other designated

              populations,   termed     “medically    needy.”      See   42   U.S.C.

              § 1396a(a)(10)(C).

        32.   Additionally, the state may choose to expand the care and services

              available under its plan beyond the seven mandated categories. See id.

              §§ 1396a(a)(10)(A), 1396d(a) (defining “medical assistance” by enu-

              merating twenty-eight types of care and services).

        33.   CMS grants waivers to “permit states to offer, under a waiver of statu-

              tory requirements, an array of home and community-based services




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              that an individual needs to avoid institutionalization.” 42 C.F.R.

              § 441.300.

        34.   Michigan’s State Plan includes the provision of home and communi-

              ty-based services to approved Medicaid beneficiaries under a waiver,

              “granted under 42 C.F.R. Part 441, subpart G,” who would otherwise

              require services in an institution. Attachment 2.2-A to the Michigan

              State Plan. This waiver is called the Habilitation Supports Waiver

              (HSW) in Michigan.

        35.   Michigan elected, applied, and was approved to receive funding under

              the HSW to furnish waiver services to assist individuals with devel-

              opmental disabilities with activities of daily living necessary to permit

              them to live in their own home or rental unit in a community-

              supported living arrangement setting.

        36.   Waivers granted pursuant to 42 U.S.C. § 1396n(c) allow the state to

              include as “medical assistance” under such plan “payment for part or

              all of the cost of home or community-based services (other than room

              and board) approved by the Secretary which are provided pursuant to

              a written plan of care to individuals with respect to whom there has

              been a determination that but for the provision of such services the in-

              dividuals would require the level of care provided in a hospital or a


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              nursing facility or intermediate care facility for the mentally retarded

              the cost of which could be reimbursed under the State plan.” 42

              U.S.C. § 1396n(c).

        37.   Under such a waiver, the state may forgo compliance with statewide,

              comparability, and certain community income and resource rules, but

              must otherwise comply with all other federal Medicaid requirements.

              See 42 U.S.C. § 1396n(c)(3).

        38.   Federal law lists the type of services which may be offered under

              Michigan’s HSW waiver. 42 U.S.C. § 1396u; see also 42 C.F.R.

              § 440.180.

        39.   Michigan elected to make all Medicaid home and community-based

              living arrangement services under 42 U.S.C. § 1396u and 42 C.F.R.

              § 440.180 available to individuals on the HSW. See MCL § 400.109c.

        40.   The federal statute defines “community supported living arrangement

              services” as assistance to developmentally disabled individuals in ac-

              tivities of daily living necessary to permit them to live in their own

              home or apartment, in a community supported living arrangement set-

              ting. 42 U.S.C. § 1396u. It also includes personal assistance and “sup-

              port services necessary to aid an individual to participate in communi-

              ty activities.” Id. § 1396u(a)(7).


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        41.   Michigan has included within its HSW services “Community Living

              Supports” (CLS), which “facilitate an individual’s independence,

              productivity, and promote inclusion and participation.” Michigan

              Medicaid Provider Manual (MPM) § 15.1.

        42.   An individual receives services under the HSW when, “if not for the

              availability of the home and community-based services, [he or she

              would] require the level of care provided in an intermediate care facil-

              ity for the mentally retarded (ICF/MR).” HSW Eligibility Certifica-

              tion, available at http://www.michigan.gov/documents/mdhhs/MI_

              Choice_Waiver_1915-b_537092_7.pdf. In other words, but for the

              provision of CLS services, eligible individuals would require the level

              of care provided in an institution.

        43.   MDHHS contracts with CMHPSM, a PIHP and a Medicaid managed

              care organization, to provide or arrange for services for enrollees in its

              region. See 42 U.S.C. § 1396u-2(a)(1)(B); MCL 400.109f.

        44.   CMHPSM, in turn, contracts with WCCMH, an organization statutori-

              ly required to provide and arrange for mental health services to indi-

              viduals with developmental disabilities in Washtenaw County, to pro-

              vide or arrange services for Medicaid enrollees.




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          45.   CMHPSM, as a Medicaid managed care organization, is responsible

                for "providing defined inpatient services, outpatient hospital services,

                physician services, other specified Medicaid state plan services, and

                additional services approved by the centers for Medicare and Medi-

                caid services under section 1915(b)(3) of title XIX of the social secu-

                rity act, 42 U.S.C. § 1396n." MCL 400.109f(2)(A).

          46.   The relationship between MDHHS, CMHPSM, and WCCMH is rep-

                resented in the following graphic published by the University of

                Michigan and Blue Cross Blue Shield of Michigan’s Center for

                Healthcare Research & Transformation:1




  1
      The Michigan Department of Community Health is now part of MDHHS.


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        47.   Michigan has a long history of authorizing CLS services under the

              HSW (the provision authorizing the HSW was first added to the So-

              cial Security Act in 1981), which are seen as a humane and cost-

              effective alternative to institutionalization.

     B. Right to Self-Determination Under the Habilitation Supports Waiver

        48.   The core of the CLS program is the participant’s right to self-

              determination. Exhibit A, HSW, Appendix E-2. This means both that

              the participant structures his or her own plan of service according to

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              medical need and that the participant has a significant degree of flexi-

              bility in implementing the plan.

        49.   States decide whether to allow participant-directed services. If so, the

              state must complete Appendix E of the HSW and specify which as-

              pects of the services are participant-directed. See CMS Instructions,

              Technical Guide, and Review Criteria, page 213 et seq.

        50.   Michigan has elected to allow participant-directed services in connec-

              tion with the HSW. Participant direction fosters the overall goals of

              HSW services, which are to preserve the independence of the client,

              avoid institutionalization, and assist in the integration of the client into

              the community. Participant direction also assists in setting up realistic

              costing to achieve this, avoiding arbitrary limits that will defeat these

              purposes.

        51.   In accordance with 42 C.F.R. § 441.301(b)(1)(i), a participant-

              centered service plan of care, known in Michigan as an Individual

              Plan of Service (IPOS), is developed for each participant employing

              the person-centered planning procedures specified in Appendix D of

              the HSW.

        52.   Central to developing a client’s IPOS is identification of the services

              and supports that are medically necessary for that client.


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        53.   Medical necessity criteria is defined in Michigan’s Medicaid Provider

              Manual as supports, services, and treatment “intended to treat, amelio-

              rate, diminish or stabilize the symptoms of mental illness, develop-

              mental disability, or substance use disorder.” MPM § 2.5.A.

        54.   Medical necessity criteria also includes supports, services, and treat-

              ment “designed to assist the beneficiary to attain or maintain a suffi-

              cient level of functioning in order to achieve his goals of community

              inclusion and participation, independence, recovery, or productivity.”

              Id.

        55.   The determination of a medically necessary support, service, or treat-

              ment must be based on information provided by the beneficiary and/or

              his family and clinical information from the beneficiary’s primary

              care physician or other qualified health care professionals who have

              evaluated the beneficiary. MPM § 2.5.B. It must be “[s]ufficient in

              amount, scope, and duration . . . to reasonably achieve its purpose,”

              and it must be “[d]ocumented in the individual plan of service.” Id.

        56.   The IPOS thus embodies the medical necessity determination as to

              each individual participant.

        57.   The IPOS is implemented through a budget that is developed with the

              participant using the person-centered planning process. The IPOS and


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              its implementing budget are interdependent and developed in conjunc-

              tion with one another. Only after the participant’s medical needs have

              been determined can the plan of service be budgeted. HSW Appendix

              E-2(b)(ii).

        58.   “An individual budget includes the expected or estimated costs of a

              concrete approach of obtaining the mental health services and sup-

              ports included in the [IPOS]” (Self Determination Guideline II.C.).

        59.   “The amount of the individual budget is determined by costing out the

              services and supports in the IPOS, after a IPOS that meets the partici-

              pant’s needs and goals has been developed. In the IPOS, each service

              or support is identified in amount, scope and duration (such as hours

              per week or month). The individual budget should be developed for a

              reasonable period of time that allows the participant to exercise flexi-

              bility (usually one year).” HSW Appendix E-2(b)(ii) (emphasis add-

              ed).

        60.   As set forth in the Behavioral Health chapter of the Michigan Medi-

              caid Provider Manual (MPM), services cannot be denied “based solely

              on preset cost limits on the amount, scope, and duration of services.”

              MPM § 2.5.C., pg. 14. “Instead, determination of the need for services

              shall be conducted on an individualized basis.” Id.


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        61.   These provisions of the Michigan Manual implement the requirement

              of the Social Security Act and federal regulations that “lack of ade-

              quate funds from local sources will not result in lowering the amount,

              duration, scope, or quality of care and services available under the

              plan.” 42 U.S.C. § 1396a(a)(2); 42 C.F.R. § 433.53(c)(2).

        62.   Also, in accordance with 42 C.F.R. § 431.51, a participant may select

              any willing and qualified provider to furnish waiver services included

              in the service plan. The participant (most often his or her guardian) se-

              lects and hires service providers who fit the participant’s individual

              needs, assuming the role of a traditional provider agency. The partici-

              pant can hire and fire staff, schedule staff, and “determine staff wages

              and benefits subject to State limits.” HSW, Appendix E-2(a)(ii).

        63.   There are no state limits for staff wages under the HSW.

        64.   In the HSW application, the state has the option to check this box:

              “There is a limit on the maximum dollar amount of waiver services

              authorized for each specific participant.” Michigan’s application pro-

              vides: “Not applicable- The State does not impose a limit on the

              amount of waiver services…” HSW Appendix C-4(a). This is in ac-

              cordance with state policy, which prohibits services from being denied




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              based “solely on preset limits of the cost, amount, scope, and duration

              of services.” MPM § 2.5.C., pg. 14.

        65.   Michigan specifically gives participants the right to reallocate funds

              among services included in the budget, as well as to determine the

              amount paid for services. HSW, Appendix E-2(b)(i).

        66.   “Both the participant and the PIHP must agree to the amounts in the

              individual budget before it is authorized for use by the participant.

              This agreement is based not only on the amount, scope and duration

              of the services and supports in the IPOS, but also on the type of ar-

              rangements that the participant is using to obtain the services and sup-

              ports. Those arrangements are also determined primarily through the

              PCP [person-centered planning] process.” HSW Appendix E-2(b)(ii);

              see also 42 C.F.R. § 441.301(c)(2)(ix).

        67.   The participant must have the authority through the person-centered

              planning process to budget for services that fall within the amount,

              scope, and duration of his or her IPOS.

        68.   Finally, “[t]he mental health agency (PIHP or designee) must provide

              the participant with information on how to request a Medicaid Fair

              Hearing when the participant’s Medicaid-funded services are changed,

              reduced or terminated as a result of a reduction in the individual


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              budget or denial of the budget adjustment.” HSW Appendix E-

              2(b)(iv). This requirement is also found in the Medicaid Act and its

              implementing regulations. 42 U.S.C. § 1396a(a)(3); 42 C.F.R.

              § 431.205.

     C. Financing the HSW in Michigan

        69.   Financing for the Habilitation Supports Waiver in Michigan is effect-

              ed through managed care/capitation procedures. The central character-

              istic of those procedures is that the State and its Medicaid agencies are

              not reimbursed on a fee-for-services basis by the federal government

              for services provided under the Waiver. Instead, reimbursement oc-

              curs on a “capitation” basis, under which the relevant operating unit

              receives a fixed amount for each person enrolled in the program, re-

              gardless of how much (or how little) in the way of services the operat-

              ing unit actually provides to that person.

        70.   In this case, the relevant operating unit is the PIHP — which, as al-

              leged in more detail below, was originally the Washtenaw Community

              Health Organization (WCHO) and then became Defendant CMHPSM.

              As the acronym PIHP indicates, these were prepaid health plans. The

              word “prepaid” refers to funding on a capitation basis: the PIHP re-

              ceives payment in advance of the same fixed amount for each enrolled


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              client, regardless (to repeat) of the amount of services any given client

              ends up needing.

        71.   On the expenditure side, the PIHP uses the aggregate of the capitation

              funds it has received to pay for the services it provides.

        72.   There is no direct relationship between funding and expenditures. Nei-

              ther the amount of services provided to any one client nor the cost of

              providing those services bears any relation to the capitation amount

              the PIHP received for enrolling that client.

        73.   Accordingly, with respect to their HSW operations, PIHPs are not

              pass-through entities, in which some other entity bears the risk that

              needed services during the course of a year will exceed the expected

              amount. Rather, they use their own funds, received through the capita-

              tion process, to pay for whatever services turn out to be required.

              PIHPs are thus risk-bearing entities exactly like insurance companies,

        74.   Also exactly like insurance companies, PIHPs can make money or

              lose money depending on whether the “premiums” (here, the capita-

              tion payments) are, in the aggregate, greater or less than the “losses”

              (payments for needed services).

        75.   Because they are risk-bearing entities that can in fact lose money,

              PIHPs have a financial incentive to provide as little in the way of ser-


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              vices as they can. The Medicaid statute and regulations and the Mich-

              igan Habilitation Waiver recognize this incentive and contain specific

              provisions to prevent PIHPs’ financial incentives from operating to

              the detriment of their clients, specifically including the beneficiary

              protection, service, and quality assurance provisions of 42 U.S.C.

              § 1396u-2(b), (c), and the MPM provision, cited above, that services

              cannot be denied based on preset cost limits on the amount, scope, and

              duration of services.

     D. WCHO’s Reformation and Budget Crisis

        76.   Prior to 2014, WCHO was the PIHP for Washtenaw County, as well

              as for three other counties — Lenawee, Livingston, and Monroe.

        77.   Until about December 10, 2013, Defendant CMHPSM was simply a

              coordinating organization for the four counties that were served by

              WCHO as PIHP.

        78.   During this timeframe, WCHO was also a Community Mental Health

              Service Provider (CMHSP), although it mostly contracted with Com-

              munity Support and Treatment Services (CSTS) to provide those ser-

              vices. Until 2002, CSTS had been called Washtenaw County Com-

              munity Mental Health (WCCMH).




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        79.   One of the services CSTS provided was to oversee the development of

              participants’ IPOSs and associated budgets. Once the budget was de-

              veloped, it was managed and implemented for the participants by a

              fiscal intermediary.

              a. The use of a fiscal intermediary allows participants to employ their

                 own staff directly without having to manage administrative details

                 such as payroll, taxes, and W2s, which are handled by the fiscal in-

                 termediary.

              b. The fiscal intermediary for the majority of Plaintiffs is the Com-

                 munity Living Network (CLN), which operates under the d/b/a of

                 Community Alliance of Southeastern Michigan. Other plaintiffs

                 use GI Independence.

        80.   In 2013, the State of Michigan issued new regulations that a CMHSP

              could not also be a PIHP — that is, that an entity providing direct

              mental health services to the community (a CMHSP) could not also be

              the prepaid inpatient health plan that received Medicaid capitation

              funding. Since WCHO was both, organizational changes became nec-

              essary.

        81.   As of approximately December 10, 2013 (the date of Defendant

              CMHPSM’s “enumeration” in the National Provider Index operated


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              by CMS), Defendant CMHPSM, which had up to that point been

              merely an umbrella coordinating organization for the mental health

              services of the four counties including Washtenaw, started the process

              of becoming an operating PIHP. The goal was to move WCHO’s

              PIHP operations to CMHPSM and have WCHO continue simply as a

              service provider.

        82.   As of January 2014, WCHO’s PIHP operations and staff were transi-

              tioned to CMHPSM.

        83.   There was never more than one actual operating PIHP for Washtenaw

              and its three sister counties. Before January 2014, the PIHP was

              WCHO; thereafter, it was CMHPSM.

        84.   In summer 2014, WCHO informed Washtenaw County that it was

              facing a shortfall of several million dollars.

        85.   A Behavioral Health Task Force issued a report in February 2015, in

              which it recommended dissolving WCHO and creating a new Com-

              munity Mental Health Agency. Exhibit B, Behavioral Health Task

              Force, Final Report.

        86.   The Behavioral Health Task Force also specifically recommended tar-

              geting Community Living Support services in order to reduce the def-

              icit. Exhibit B.


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        87.   In October 2015, WCHO was dissolved and CSTS changed its name

              back to WCCMH, the defendant in the present case.

        88.   CSTS and WCCMH are and always have been the same organization,

              having merely gone through a name change in 2002 and a reversal of

              that name change in 2015.

        89.   CSTS/WCCMH was and always has been the party responsible for

              servicing the Medicaid contract for the waiver services at issue in this

              action. It has at all times operated as a contractor to the PIHP, either

              directly (before 2014 and after October 2015) or as a subcontractor to

              WCHO when WCHO was a CMHSP but no longer the PIHP.

        90.   There was no cessation of operations as WCHO dissolved and CSTS

              changed its name back to WCCMH. As WCHO dissolved and

              WCCMH became the county mental health agency, the same service

              population continued to receive the same services from the same ser-

              vice provider in the same geographic area with no interruption.

        91.   In general terms, service personnel in the WCHO/CSTS operation re-

              mained at CSTS as it changed its name to WCCMH, whereas person-

              nel on the PIHP side of the operation moved to CMHPSM.




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        92.   Because the operative events alleged in Sections E and F below over-

              lapped with these transitions, keeping track of the players can become

              difficult, and the following timeline is thus provided for convenience:

              Time Period                           Who Was Doing What
  December 2013 and earlier                • WCHO was the PIHP for
                                             Washtenaw County (and Living-
                                             ston, Lenawee, and Monroe Coun-
                                             ties). It received Medicaid capita-
                                             tion funds and disbursed those funds
                                             (and other funds it received) to pay
                                             for mental health services in the
                                             four counties.
                                           • WCHO was also a Community
                                             Mental Health Service Provider, but
                                             it subcontracted most of those func-
                                             tions to CSTS.
                                           • CSTS was the operating service
                                             provider, under contract to WCHO.
                                             CSTS was the entity that interacted
                                             with self-determination clients and
                                             developed their IPOSs and budgets.
                                           • CMHPSM was an umbrella coordi-
                                             nating organization for the mental
                                             health operations of the four coun-
                                             ties.




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               Time Period                          Who Was Doing What
  January 2014 to October 2015             • WHCO was no longer a PIHP. It
                                             was solely a service provider
                                             (CMHSP), and it continued to sub-
                                             contract most of those functions to
                                             CSTS.
                                           • CSTS remained the operating ser-
                                             vice provider, under contract to
                                             WCHO. It continued to be the entity
                                             that interacted directly with clients.
                                           • CMHPSM became an operating
                                             PIHP and thus was the entity that
                                             received Medicaid capitation funds
                                             and disbursed those funds to pay for
                                             mental health services in the four-
                                             county area.
  October 2015 to present                  • WCHO is dissolved.
                                           • CSTS changes its name to
                                             Washtenaw County Community
                                             Mental Health (WCCMH) and con-
                                             tinues as the service provider that
                                             interacts directly with clients on
                                             IPOSs and budgets.
                                           • CMHPSM continues as the PIHP.

     E. The April 2015 Letter and the May 2015 Cuts

  The Budget Process for CLS Services Participants Prior to May 15, 2015

        93.   Prior to May 15, 2015, and from at least April 2012, the IPOS budget

              for CLS services participants was built up from the individual service

              and support components of the IPOS. The services and supports in-

              clude both staff, who assist participants in the activities of daily liv-




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              ing, and other items specified in the IPOS, such as transportation and

              community activities.

        94.   The build-up of the budget started with an hourly pay rate for each of

              the paid CLS providers, which was multiplied by the number of hours

              specified for that provider (or type of provider) in the IPOS to estab-

              lish the services component of the budget.

        95.   To this services component were added additional line items, such as

              workers compensation, staff training, and transportation. The CLS

              participant’s final annual CLS budget consisted of the sum of all of

              these items, plus the fee of the “fiscal intermediary” that handled pay-

              ing staff and monitoring the participant’s ongoing usage of services.

        96.   Thus, Plaintiff Waskul’s budget for the period March 16, 2015 to

              March 11, 2016, which was approved by WCHO on March 16, 2015

              (Exhibit C) was for a total of $29,182.56 and was derived as follows:

              a. 32.5 weekly hours (1690 annual hours) of CLS personnel, at

                 $13.88 per hour, for a total of $23,457.20 in “Personnel Hours,”

                 plus

              b. 74 annual hours of Staff Training, at $13.88, for a total of

                 $1,027,32, making




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              c. a “Direct Care Costs to be paid by WCHO” subtotal of $24,482.32,

                 to which were added

              d. “Community Supports” of $3,498.24, consisting of

                    i. Transportation of $175/month, or $2,100 for the year, and

                   ii. Workers compensation expense for two staff members of

                       $398.16 for the year, and

                   iii. “Community Participation” expenses of $60/month, and

                   iv. $280.08 for an Annual Recreation Pass, making

              e. a “Subtotal WCHO Obligation” of $27,982.56, to which was added

              f. the Fiscal Intermediary Administrative Fee of $100/month, or

                 $1,200 for the year, making, finally,

              g. “Total Costs” for the 360-day budget period of $29,182.56.

        97.   For its own statistical reporting purposes, WCHO then separated this

              amount into two components, reporting the $27,982.56 “WCHO Ob-

              ligation” under code H2015 (Comprehensive Community Support

              Services, per 15 minutes) of the Healthcare Common Procedure Cod-

              ing System (HCPCS) and the Fiscal Intermediary fee under code

              T2025 (Waiver services, not otherwise specified). It also divided the

              WCHO obligation by 6,760, the number of 15-minute segments in the




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              1690-hour annual CLS personnel authorization, to obtain a “15 Mi-

              nute H2015 Variable Rate” of $4.14 (i.e., $16.56 per hour).

        98.   None of the calculations described in the preceding paragraph, how-

              ever, affected either Plaintiff Waskul or the amounts the fiscal inter-

              mediary paid out on his behalf — for CLS personnel, for transporta-

              tion, for the recreation pass, or for anything else.

        99.   Nor did WCHO’s coding affect the amounts CMHPSM received as

              reimbursement from State or Federal Medicaid funds on account of

              services and supports supplied to Plaintiff Waskul, because WCHO

              received no such reimbursement. CMHPSM was a PIHP: it had al-

              ready been paid to provide these services and supports by receiving its

              fixed capitation amount when it reported Plaintiff Waskul as an enrol-

              lee.

        100. The only relevance of WCHO’s statistical coding for Medicaid reim-

              bursement purposes was that CMHPSM’s 2015 expenses would be

              included in its actuarial calculations to support its 2016 capitation rate

              (and/or future rates). That is, if CMHPSM spent more than it had an-

              ticipated on H2015 services in 2015, it could — like any insurance

              company — ask for a (prospective) rate increase for the following

              year. None of that, however, affected either the services WCHO on


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              behalf of CMHPSM had agreed were medically necessary in Plaintiff

              Waskul’s 2015 IPOS or the amounts CMHPSM had agreed to pay —

              in 2015, from its own funds, obtained from its aggregate 2015 capita-

              tion payments — in the budget CMHPSM (through its contracting

              service provider) and Plaintiff Waskul jointly developed from the

              IPOS.

        101. Prior to January 2014, WCHO was itself the funding PIHP. Thereaf-

              ter, the funding PIHP became CHMPSM, with first WCHO and then

              WCCMH administering the CLS program in Washtenaw County on

              CHMPSM’s behalf. Both before and after January 2014, it remained

              true that (a) the PIHP (now CHMPSM) paid for CLS services out of

              its own aggregate capitation funds, and (b) the coding of payments

              was solely for the purpose of the PIHP’s statistical reporting for its fu-

              ture ratemaking purposes.

        102. Prior to May 15, 2015, all plaintiffs’ budgeting processes were sub-

              stantially as described above with respect to Plaintiff Waskul. There

              were, of course, individual variations in amounts of services and sup-

              port received, but in all cases the service component of the budget was

              built up by applying an agreed rate (hourly in most cases; per diem in

              the case of recipients receiving 24/7 care (like Plaintiff Schneider)) to


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              the amount of services provided for in the IPOS, and then adding

              amounts for other services and supports such as staff training, workers

              compensation, and transportation.

        103. There were likewise minor variations as among the individual plain-

              tiffs in the PIHP’s statistical reporting as to them — per diem services

              were reported under HCPCS code H0043 instead of H2015, for ex-

              ample — but in each instance the budgeted services were provided by

              the PIHP from its own capitation funds, and the statistical reporting

              was solely for future ratemaking purposes.

  The April 2015 Letter and the Inversion of the Budget Process

        104. All this changed dramatically — and very much for the worse — on

              April 9, 2015. On that date WCHO sent a letter to all participants re-

              ceiving CLS services, stating that what the letter called “our Commu-

              nity Living Support (CLS) rate” would be “reduc[ed]” to $13.88 per

              hour, effective May 15, 2015. Exhibit D, Letter to CLS Participants

              from Sally Amos O’Neal. The letter further stated that “[t]he new rate

              . . . includes worker’s compensation, transportation, community par-

              ticipation, taxes, and training.” It then claimed, contradictorily, that

              “[w]hile this is not a reduction in your current level of services, it may

              reduce the amount you can pay your staff.” Id.


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        105. What the letter described as WCHO’s “CLS rate,” however, was not a

              rate to be paid to providers at all but a pure artifact of WCHO’s statis-

              tical reporting. Previously, the rate reported by WCHO under code

              H2015 (or H0043 for per diem participants) could vary from partici-

              pant to participant, depending on the level of non-staff services re-

              quired by that participant’s IPOS. If, for example, Plaintiff Waskul

              had not required a town recreation pass, at an annual cost of $280, the

              amount WCHO would have reported under code H2015 as to him

              would have decreased slightly, from $4.14 per 15-minute segment to

              $4.10. Nothing else — including the amounts he paid his staff —

              would have changed.

        106. Now, however, the entire budgetary process was reversed. Instead of

              costing out necessary services and supports and then reporting the re-

              sults for statistical purposes, WCHO now required that participants

              start with a fixed H2015 rate of $13.88 per hour ($3.47 per 15-minute

              segment) and work backwards to an amount that could be paid for

              staff by subtracting out the cost of all the non-staff services and sup-

              ports.




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        107. WCHO’s change in the budgeting process was continued by WCCMH

              on WCHO’s dissolution in October 2015. The change continues to

              this day and, unless enjoined, will continue in the future.

        108. The change in budgeting violates the requirement of HSW Appendix

              E-2(b)(ii) that “[t]he amount of the individual budget is determined by

              costing out the services and supports in the IPOS.”

        109. As a result of WCHO’s illicit change in budgeting procedure, partici-

              pants’ IPOS budgets were instantly and drastically reduced. To con-

              tinue with the example of Plaintiff Waskul, the new, uniform $3.47

              H2015 rate was a 16.2% reduction from the previous $4.14 WCHO

              had been reporting statistically in his case. That meant that, if nothing

              else changed in his budget for non-staff services and supports, the

              amount he could pay his staff would be reduced by 18.5%. In fact,

              WCHO made other changes at the same time — such as taking the

              fiscal intermediary fee out of the H2015 amount even though it was

              reported separately for statistical purposes — so that the amount

              Plaintiff Waskul could pay staff went from $13.88 per hour to $9.63.

        110. Each of the other named plaintiffs (except, as alleged below, Plaintiff

              Trabue, who was at that time under the age of 18 and thus not a CLS

              participant) suffered similar reductions.


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        111. Numerous members of WACA have suffered similar reductions.

        112. Rather than developing an individual plan and then budgeting for it,

              participants were now forced to fit their plans within a budget that was

              capped at a specific rate times the number of staff hours in the IPOS,

              regardless of the extent of non-staff services and supports provided for

              in the IPOS and regardless of the actual rates that WCHO had previ-

              ously approved paying individual staffers. For all participants for

              whom WCHO had been reporting an H2015 rate of more than $13.88

              before May 15, 2015, the amount that could be paid for services was

              reduced, and the rate that could be paid to CLS staff was likewise re-

              duced from the amounts previously authorized.

        113. Moreover, participants’ budgets were effectively capped, because

              budgeting for additional medically necessary services, such as addi-

              tional community activities, would further reduce the CLS providers’

              pay, making it difficult to find and maintain paid CLS providers at

              such a low rate. Adding money for a line item like transportation must

              now come out of some other part of the budget, usually the provider

              hourly rate.




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        114. Ms. Amos O’Neal acknowledged in her April 2015 letter that the

              change would (she said “may”) reduce the amount that participants

              could pay staff.

        115. Each paid staff person of each of the named plaintiffs in this action

              was approved by WCHO to be a CLS provider. So, too, were many

              paid staff persons of the members of WACA.

        116. The amounts those approved staff members were being paid were set

              forth in the participants’ budgets, which WCHO had likewise ap-

              proved.

        117. At no point in connection with the April 2015 letter did WCHO, either

              directly or through its contractor, CSTS/WCCMH, determine that the-

              se approved staff personnel should no longer be approved.

  Comparison Between What WCHO Did and What the State Had Told the
  Federal Government It Would Do

        118. In 2010, when it obtained its most recent Habilitation Supports Waiv-

              er, the State of Michigan told the federal government what it expected

              to pay for CLS services during the course of the waiver. (The HSW

              expired at the end of 2014, but it has been extended since that time by

              a succession of 90-day extensions.)




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        119. The $3.47 “CLS rate” imposed by WCHO in the April 2015 letter is

              significantly less than the average rates the State had told the federal

              government it expected to pay.

        120. Thus, when Michigan applied for the HSW in 2010, it told the federal

              government that it expected that the average CLS rates (per 15-minute

              segment) it would pay in the course of the five years (2010-2014) of

              the HSW would be:

                          Waiver Year Average CLS Rate
                              2010              $4.20
                              2011              $4.38
                              2012              $4.57
                              2013              $4.77
                              2014              $4.98
        121. Accordingly, when WCHO arbitrarily imposed a $3.47 cap on “CLS

              rates” in the April 2015 letter, it was setting a rate 17.4% lower than

              the lowest average rate the State had told the federal government it

              expected to pay, and fully 31.3% lower than the rate the State had said

              it expected to pay in 2014, the then-most-recent year of the Habilita-

              tion Supports Waiver.

        122. This effort of the WCHO bureaucrats to balance their budget on the

              backs of those they were duty-bound to serve is all the more disgrace-

              ful when one considers that Washtenaw County is a high-cost county

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              relative to most of the rest of the State of Michigan (indeed, in most

              years it is the highest cost county in the State), so that one would ex-

              pect the cost of services and supports in Washtenaw to be higher than

              the statewide average, not lower.

  Failure To Provide Adequate Notice

        123. The April 2015 letter from Ms. Amos O’Neal failed to give notice to

              participants of their right to request a Medicaid fair hearing. The April

              2015 letter did not give any reason for the intended action or cite any

              specific regulation supporting the action. The April 2015 letter was

              not based on medical necessity criteria, and did not provide an expla-

              nation of the circumstances under which benefits would be maintained

              should a hearing be requested.

  WCCMH’s “Double Counting” Explanation

        124. Subsequent to the commencement of this action, WCCMH has assert-

              ed that the budgeting change was necessary to avoid “double billing,”

              and that the manner in which budgets were being calculated prior to

              May 2015 was tantamount to Medicaid fraud.

        125. Those assertions are not correct.




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        126. WCCMH has asserted that, from 2008 to 2012, WCHO’s CLS rates

              were calculated on an “all inclusive” basis (i.e., on a basis that includ-

              ed transportation and other non-staff services).

        127. Even if that assertion is true, and even if the 2008 memorandum that

              WCCMH says implemented the practice survived the subsequent rep-

              resentation by the State of Michigan to CMS in Appendix E-2(b)(ii)

              of the 2010 HSW Application as to the manner in which budgets

              would be costed out, WCHO made the affirmative choice in 2012 to

              go to the build-up budgeting method described herein, specifically

              telling CLS participants that it was doing so in order to increase the

              services and supports available to them. See Exhibit E.

        128. WCHO’s decision to increase services and supports was within its

              powers as a PIHP to make and affected only WCHO’s expenditure of

              its own capitation funds.

        129. There was no “double counting.” Both before and after the 2012

              budgeting change, the CLS rates WCHO reported under line H2015

              would properly have included additional expenses, services, and sup-

              ports such as workers compensation, transportation, and the like. Even

              assuming WCCMH’s current description of the pre-2012 process is




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              correct, the reported rates were simply higher after 2012 than they

              were before.

        130. Neither the Habilitation Supports Waiver nor any other aspect of

              Michigan or Federal Medicaid law requires working backwards from

              a single, fixed H2015 statistical reporting rate to participants’ budgets

              under this self-determination program.

        131. Indeed, as alleged above, the backwards budgeting currently being

              imposed by Defendants WCCMH and CMHPSM (and Defendants

              Cortes and Terwilliger as their Directors), and being acquiesced in by

              Defendant Gordon as director of MDHHS, is expressly contrary to

              HSW Appendix E-2(b)(ii).

  The Post-May 2015 Process and Its Effect on CLS Participants

        132. The effect of the illicit budgeting change in 2015 is illustrated by

              Plaintiff Waskul, who is severely autistic. The effect of the April 9,

              2015 letter was to immediately reduce the amount he could pay his

              providers from approximately $12.00 an hour ($13.88 an hour gross

              of employment taxes) to $9.63. The change was implemented by

              transmogrifying Waskul’s CLS provider rate into an overall, all-

              inclusive CLS reimbursement rate. Previously, items that had been

              budgeted separately from the provider rate were used to build up the


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              Medicaid reimbursement rate. Now, they all had to be shoehorned into

              a single fixed rate.

        133. Thus, as alleged above, at the end of the new process, Waskul was

              told he could pay at most $9.63 per hour to his providers, the “max

              rate for employee wage.” Exhibit C, Waskul Post-May 15, 2015

              Budget.

        134. This was a reduction of 20% in the amount Waskul could pay for the

              care he needed — care that was certified as medically necessary in his

              approved IPOS.

        135. This budget reduction and new calculation method affected all CLS

              participants in Washtenaw County.

     F. Post-June 4, 2015 Notice of Hearing Rights

        136. MDHHS sent notice to Defendant WCCMH’s predecessor on June 4,

              2015, warning it that its decision to reduce CLS participants’ budgets

              did not conform to the approved budget authority process in the Ha-

              bilitation Supports Waiver application. Exhibit F, Letter from Jeffrey

              Wieferich to Sally Amos O’Neal.

        137. MDHHS noted that “Medicaid-funded services are changed, reduced,

              or terminated as a result of a reduction in the individual budget.” Id.




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        138. In response to MDHHS’s letter, Defendant WCCMH’s predecessor

              claimed that it was “collaborating with the individual and/or guardian

              to review the Individual Plan of Service (IPOS) and the Self Determi-

              nation budget. Upon review with all parties, the IPOS will be re-

              viewed and signed off on by the individual and/or guardian and the

              CMHSP . . . Through the completion and signature on the updated

              IPOS, each individual and/or guardian will be provided Adequate No-

              tice of Rights.” Exhibit G, WCHO Response to MDHHS.

        139. Starting in late June 2015, Defendant WCCMH’s predecessor began

              reopening participants’ IPOS to incorporate the budget reductions.

        140. Upon information and belief, contrary to MDHHS’s demand that De-

              fendant WCCMH’s predecessor comply with the person-centered

              planning process when reopening the IPOS, Defendant WCCMH’s

              predecessor often simply had clinical staff call participants and notify

              them that their IPOS would be redone.

        141. Upon information and belief, the clinical staff of Defendant

              WCCMH’s predecessor usually showed up at participants’ homes

              with an IPOS reflecting the reduction already incorporated and asked

              them to sign it.




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        142. When Defendant WCCMH’s predecessor incorporated the CLS budg-

              et reduction into participants’ IPOS, it provided a notice of hearing

              rights with the new IPOS.

        143. These later notices of hearing rights described the action taken as “ad-

              equate,” and were not negative advance action notices. Exhibit H,

              Post-June 4, 2015 Notice of Hearing Rights (for Plaintiff Schneider).

        144. These later notices did not cite any statute or policy authorizing the

              reduction in services.

        145. These notices did not state what was reduced or why.

        146. Because these later notices did not acknowledge the reduction in ser-

              vices, no reason for the reduction was given in the notices.

        147. Upon information and belief, Defendant WCCMH’s predecessor told

              participants at the time the hearing notice was provided that the CLS

              budget reduction was not appealable and that they should not bother

              requesting a hearing.

        148. A number of recipients, including Plaintiff Erlandson, did not request

              hearings because of these representations.

        149. Defendant WCCMH’s predecessor did not even provide these post-

              June 4 notices to all recipients. Plaintiffs Erlandson and Ernst did not

              receive these notices.


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        150. Upon information and belief, the majority of recipients did not receive

              even this deficient notice.

        151. At two local dispute meetings held in late summer and early fall 2015

              (just about the time WCHO was dissolving and CSTS was changing

              its name to WCCMH), Defendant WCCMH continued to argue that

              the budget reduction was not an appealable issue. Defendant

              WCCMH also argued that the Michigan Administrative Hearing Sys-

              tem (MAHS) did not have jurisdiction to hear the named Plaintiffs’

              cases.

        152. Defendant WCCMH continued to assert that MAHS did not have ju-

              risdiction to hear CLS budget reduction appeals through February

              2016.

        153. Per testimony from Sally Amos O’Neal at the September 20, 2016 ev-

              identiary hearing held in this matter, only about 19 of around 170 CLS

              participants in Washtenaw County reached administrative hearings by

              an appeal based on this later notice of hearing rights.

        154. Although Defendant WCCMH also assured MDHHS that it had “re-

              versed the CLS rate retroactive to May 15, 2015 pending results of the

              Medicaid Fair Hearings Process scheduled for July 1, 2015,” it did not

              do so for every individual.


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        155. For the few CLS participants who requested a hearing notwithstand-

              ing the defective notice, Defendant WCCMH did not immediately re-

              store the rate to the pre-May 15, 2015 amount; instead, it sought to

              impose a rate of $14.48, which it borrowed from Michigan’s Chil-

              dren’s Waiver.

        156. Defendants later postured the $14.48 rate as “negotiated.” Upon in-

              formation and belief, however, this rate was never “negotiated”; ra-

              ther, participants were told they could have the $14.48 rate or the

              $13.88 rate.

        157. Due to, among other things, differences in the service populations and

              waiver structures, the Children’s Waiver rates are not a valid basis of

              comparison to rates for HSW CLS services.

        158. Both the $14.48 rate and $13.88 rate were inputs to the illicit post-

              May 15, 2015 budgeting method, which inappropriately ignores non-

              staff services and supports in setting the overall amount available un-

              der the budget.

        159. Since this lawsuit was filed, Defendants have slightly raised the CLS

              rate several times, but all participants’ budgets are still set without any

              reference to non-staff services and supports.




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        160. The harm to Plaintiffs is irreparable. Plaintiffs have no adequate rem-

              edy at law to prevent the continuing wrong and irreparable injury

              caused by Defendants' acts.

  WCCMH’s Knowledge of Illegality

        161. Due to the WCHO/WCCMH budget crisis, an outside consultant,

              Health Management Associates (HMA), was brought in around the

              time of the merger to review WCCMH’s budget.

        162. In a draft report dated December 17, 2015, HMA wrote: “The Com-

              munity Living Supports program area is another with cost metrics that

              bear scrutiny. WCCMH leadership has indicated to HMA that they al-

              ready have made changes that will reduce costs in this area and that

              they will continue to evaluate and explore options for improved cost

              effectiveness while maintaining quality. We encourage these continu-

              ing efforts.” Exhibit I, HMA Draft Report, page 12.

        163. In a letter sent to PIHP executive directors on October 22, 2015,

              MDHHS had notified Defendants CMHPSM and WCCMH that the

              “changes that will reduce costs” mentioned in the HMA letter were il-

              legal. Exhibit J, Letter from Thomas Renwick to PIHP Executive Di-

              rectors.




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        164. Specifically, MDHHS condemned “PIHPs and/or their provider net-

              works [implementing] a practice of using assessments or screening

              tools to determine, limit or restrict the amount, scope, or duration of a

              service.” Id.

        165. The letter states that “it is the person-centered planning process and

              medical necessity criteria that determine the amount, scope and dura-

              tion of services.” Id.

        166. Moreover, MDHHS stated that “it also bears reminding that the PIHP

              is obligated to ensure that medically necessary supports, services or

              treatments or treatment are sufficient in amount, scope and duration to

              reasonably achieve their purpose.” Id.

        167. The “changes that will reduce costs,” criticized by MDHHS in the let-

              ter and affecting the named Plaintiffs’ CLS services, went into effect

              in May 2015, and have not been reversed despite several individual

              administrative law decisions reversing the reductions.

                                PLAINTIFFS’ FACTS

  DEREK WASKUL

        168. Plaintiff Waskul incorporates all paragraphs above.




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     A. Mr. Waskul’s Disabilities; Effect of the May 15, 2015 Cuts.

        169. Plaintiff Derek Waskul (Mr. Waskul) suffers from a severe cognitive

              impairment and autism.

        170. He is in his mid-thirties, but cannot function independently and re-

              quires 24/7 supervision.

        171. Both Mr. Waskul and his guardian are members of WACA.

        172. Mr. Waskul receives Home Help Services through MDHHS, and Cyn-

              thia Waskul, his mother and legal guardian, provides about ten hours

              of unpaid natural support per day, but Mr. Waskul depends on two

              paid CLS providers seventy hours per week.

        173. Mr. Waskul receives CLS services under the HSW.

        174. Through his guardian, Mr. Waskul participates in the CLS self-

              determination process.

        175. Prior to May 15, 2015, Mr. Waskul’s CLS providers were paid $13.88

              an hour before taxes.

        176. Mr. Waskul’s budget included separate items for training, transporta-

              tion, community activities, and worker’s compensation.

        177. Mr. Waskul’s pre-May 15, 2015 IPOS budget was developed based on

              the medically necessary services authorized by his IPOS.




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        178. Mr. Waskul received the April 9, 2015 letter from Sally Amos

              O’Neal, described above and attached as Exhibit D, and his budget

              was reduced and entirely recalculated effective May 15, 2015, as al-

              leged above.

        179. The result of this unilateral interference with Mr. Waskul’s budget

              was that Mr. Waskul was forced to lower the hourly rate he could pay

              his CLS staff from $12.00 per hour after taxes ($13.88 per hour gross)

              to around $9.50 per hour after taxes.

        180. Prior to May 15, 2015, Mr. Waskul’s total yearly budget amount was

              $29,182.56. Exhibit C, Budget Created February 12, 2015.

        181. After the May 15, 2015 reduction, Mr. Waskul’s total budget amount

              was only $26,957.20. Exhibit K, Budget Created May 18, 2015.

        182. Defendant WCCMH has never offered any justification based on

              medical need for the reduction of Mr. Waskul’s budget, and no such

              justification exists.

        183. Prior to May 15, 2015, Defendant WCCMH’s predecessor (WCHO)

              had reduced the staff hours specified in Mr. Waskul’s IPOS, and Mr.

              Waskul had a pending fair hearing request related to that reduction.

        184. At a meeting on June 12, 2015, counsel for Mr. Waskul stated that the

              pending fair hearing request would be amended to include the


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              May 15, 2015 budget reduction. In response, representatives of

              WCHO said they would reverse the budget reduction and asked Mr.

              Waskul to withdraw his hearing request.

        185. Katie Snay, Fair Hearings Officer for Defendant WCCMH and its

              predecessor, confirmed around June 30, 2015 that the reduction in the

              amount Mr. Waskul could pay his CLS providers had been reversed.

        186. With that assurance, Mr. Waskul withdrew his pending request for a

              Medicaid fair hearing.

        187. By notice dated July 20, 2015, however, WCHO unilaterally reduced

              Mr. Waskul’s budget and imposed a budget based solely on staff

              hours and using an overall rate of $14.48 per hour. It did so notwith-

              standing its assurances at the June 12 meeting and notwithstanding

              that Michigan policy allows the IPOS and budget to be developed on-

              ly through the person-centered planning process, MPM, § 15, page

              975.

        188. That is, WCHO started with an overall amount based on staff hours

              (staff hours times the unilaterally determined “CLS rate” of $14.48

              per hour) and then proceeded to subtract from that overall amount the

              cost of the non-staff services and supports specified in the IPOS in or-

              der to obtain an amount that could be paid to staff.


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        189. The notice of action sent to Mr. Waskul stated that the reduction

              would be imposed unilaterally, explicitly acknowledging that Mr.

              Waskul did not agree to the reduction. Exhibit L, Notice of Hearing

              Rights, July 20, 2015.

        190. This time, WCCMH’s predecessor admitted that the change was a

              “reduction in services” and correctly characterized the July 20 notice

              as a negative advance action notice. Id. At the subsequent administra-

              tive law hearing, however, Defendant WCCMH claimed that this no-

              tice was a mistake, and that no notice with hearing rights (or an ade-

              quate action notice) should have been given on the basis that there

              was no reduction in services.

        191. Upon information and belief, this was the only negative advance ac-

              tion notice subsequently sent to CLS participants who had received

              the April letter.

        192. The only justification provided in the July notice was that the new im-

              posed rate of $14.48 was the maximum state rate allowed under the

              Children’s Waiver. Id.

        193. The Children’s Waiver, however, is a separate waiver program that is

              not relevant to Mr. Waskul. Although there is a maximum rate set by




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              the state under the Children’s Waiver, there is no such rate under the

              HSW.

        194. After receiving the July 20 notice, Mr. Waskul requested a local dis-

              pute hearing and a Medicaid fair hearing.

        195. After a local dispute resolution meeting, Defendant WCCMH issued a

              decision affirming the reduction in services, citing its need “to be

              good stewards of Medicaid dollars.” Exhibit M, August 24, 2015 Lo-

              cal Dispute Resolution Committee Report of Findings.

        196. Although Mr. Waskul’s primary care provider wrote a letter stating

              that “a lowering of Derek’s self-determination budget would be dev-

              astating to Derek,” Exhibit N, Letter from Maria Heck, DO, Defend-

              ant WCCMH did not take this into account.

        197. Doctor Heck also wrote, “[a]s a young man with severe cognitive im-

              pairment and autism, Derek needs stability, consistency and dependa-

              bility. With the proposed changes, which would lower the staff wage,

              Derek will lose his current staff whom he has developed relationships

              with. Derek's current staff have facilitated and helped Derek to devel-

              op meaningful relationships in the community. Social interaction with

              others is a very important piece in the purpose of the self-

              determination arrangement.” Id.


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        198. “Without constancy, Derek will inevitably have increased anxiety, in-

               creased behavior problems, and increased autism symptoms. Autism

               is a disorder that requires a need for sameness. As his doctor, I ask

               that you consider Derek's specific medical needs when making this

               decision.” Id.

        199. Despite Doctor Heck’s clear direction, Defendant WCCMH neverthe-

               less ignored Mr. Waskul’s medical needs and reduced his CLS budg-

               et.

     B. Administrative Law Hearing and Subsequent Developments.

        200.   Mr. Waskul requested a Medicaid Fair Hearing shortly after receiving

               the July 20, 2015 notice of hearing rights.

        201. When Mr. Waskul requested the Medicaid hearing, the rate that De-

               fendants used to calculate his budget was restored to its full pre-May

               15, 2015 amount, but the manner of the budget calculation — i.e.,

               starting with a single, overall amount based on staff hours and then

               subtracting out non-staff services and supports — was not changed.

        202. A Medicaid Fair Hearing was held by the Michigan Administrative

               Hearing System (MAHS) on October 14, 2015.

        203. Mr. Waskul’s two paid CLS providers both testified under oath that

               they could not continue to work at the reduced rate.


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        204. Medical evidence was admitted stating that losing any of his current

              CLS providers would be detrimental to Mr. Waskul’s health.

        205. Despite Mr. Waskul’s evidence that the rate reduction would force his

              CLS staff to quit and lead to harm, at the urging of Defendant

              WCCMH ALJ Steven Kibit issued a dismissal order asserting that he

              had no jurisdiction on the basis that there had been no reduction in the

              amount, scope, and duration of Mr. Waskul’s services. Exhibit O, Or-

              der of Dismissal.

        206. For unknown reasons, the overall rate Defendants used to calculate

              Mr. Waskul’s budget was not reduced again after the dismissal, but

              stayed at the pre-May 15, 2015 rate.

        207. On November 25, 2015, ALJ Kibit sua sponte issued an Order Vacat-

              ing Dismissal, ruling that MAHS did in fact have jurisdiction to hear

              the case. Exhibit P.

        208. Specifically, ALJ Kibit ruled that MAHS had jurisdiction because the

              reduction in Mr. Waskul’s CLS budget did confer the right to a Medi-

              caid Fair Hearing, and ordered a new hearing.

        209. After ALJ Kibit had dismissed the case for lack of jurisdiction, Mr.

              Waskul’s provider Christina Pulcifer quit, and Mr. Waskul did not




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              have enough staff to provide the medically necessary services re-

              quired by his IPOS.

        210. It generally takes significant time to find a suitable replacement for

              Mr. Waskul’s CLS providers, because Mr. Waskul must be familiar

              with the provider and have established a certain level of trust.

        211. Given the nature of their disabilities, the same is true of many of the

              other individual Plaintiffs and many members of WACA.

        212. Mr. Waskul was at risk of losing his other paid CLS provider as well

              because of the uncertainty surrounding her job.

        213. On February 18, 2016, ALJ Kibit granted Mr. Waskul’s Motion for

              Summary Disposition and ordered Defendant WCCMH to reverse the

              budget reduction.

        214. On February 29, 2016, Defendant WCCMH sent Mr. Waskul an Or-

              der Certification, certifying that ALJ Kibit’s Order had been imple-

              mented.

        215. Despite its representations in the Order Certification, Defendant

              WCCMH did not reverse the new budget calculation method, and it

              purported to appeal ALJ Kibit’s decision.

        216. Mr. Waskul currently cannot budget for any additional needs without

              reducing the amount he can pay his CLS providers.


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        217. Defendant WCCMH denied Mr. Waskul’s requests for additional CLS

              hours on the sole basis that he was not using his full allotted hours.

        218. Mr. Waskul was unable to use his full hours because he was unable to

              fill Ms. Pulcifer’s position due to the inadequately low provider rate.

        219. Mr. Waskul’s guardian was eventually forced to hire her husband to

              fill Ms. Pulcifer’s hours, at which time Defendant WCCMH approved

              the request for additional hours, increasing Mr. Waskul’s hours from

              37.5 to 70 hours per week.

        220. Mr. Waskul is currently unable to find suitable CLS providers willing

              to work at the current rate, but he cannot increase the provider rate

              without decreasing some other part of his budget.

        221. Ms. Waskul’s husband can provide the bulk of the paid CLS services

              only on weekends and in the evening, leaving Mr. Waskul short-

              staffed during the week.

        222. As a result of this short-staffing, Mr. Waskul goes three weekdays

              (Monday through Wednesday) without his normal community routine

              and is confined to his home on those days.

        223. This serious reduction in community involvement has had a serious

              deleterious effect on Mr. Waskul’s health.




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              a. Without the necessary amount of community involvement and so-

                 cial interaction, Mr. Waskul becomes lethargic and depressed, of-

                 ten refusing to eat. The resultant excess sitting has worsened Mr.

                 Waskul’s scoliosis.

              b. Certain relationships that Mr. Waskul had developed in the com-

                 munity are deteriorating. For example, Mr. Waskul is no longer

                 able to go to the farmer’s market in Ann Arbor on Wednesday,

                 where he had developed special relationships with certain vendors,

                 because he has no CLS providers during the day on Wednesday.

              c. Currently, Mr. Waskul frequently refuses to get out of the car

                 when taken into the community, and his CLS provider has been

                 forced to turn around and go home. Mr. Waskul has refused to get

                 out of the car even when accompanied by his mother. In the com-

                 munity, he now becomes angry and potentially poses a danger to

                 himself and others.

  CORY SCHNEIDER

        224. Plaintiff Schneider incorporates all paragraphs above.

     A. Mr. Schneider’s Disabilities and Staffing Before the May 15, 2015 Cuts.

        225. Mr. Schneider has been diagnosed with autism and a developmental

              disability, and he suffers from an undiagnosed behavior disorder.


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        226. Mr. Schneider is twenty-one years old but cannot function inde-

              pendently. He has received CLS services under the HSW since he

              turned eighteen.

        227. Both Mr. Schneider and his guardian are members of WACA.

        228. Due to his extremely limited speech and the likelihood of self-

              inflicted harm, Mr. Schneider requires 24/7 care.

        229. Mr. Schneider’s CLS providers are necessary to help Mr. Schneider

              lead as normal a life as possible and avoid institutionalization.

        230. Among other things, the CLS providers help Mr. Schneider to cross

              the street, engage in basic social interactions, remind him to use the

              bathroom, and monitor his aggression.

        231. Caring for Mr. Schneider is a strenuous job involving constant moni-

              toring. Mr. Schneider is over six feet tall and has aggressive tenden-

              cies resulting from his behavioral disorder, which CLS staff need to

              control to prevent him from hurting others or himself.

        232. Mr. Schneider’s IPOS provides for 168 hours of CLS services per

              week (24/7).

        233. Prior to May 15, 2015, just as in the case of Plaintiff Waskul, Mr.

              Schneider’s IPOS budget was calculated by applying the actual hourly

              pay rates for his paid CLS providers to the number of hours they


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              worked and then adding in additional line items for non-staff services

              and supports.

        234. Mr. Schneider had around four paid CLS providers prior to May 15,

              2015. His lead CLS provider, Stacey Rozsa, who has been with him

              for at least six years, was paid around $13.50 per hour, and his other

              three CLS providers were paid around $10.00 per hour.

     B. Effect of the May 15, 2015 Cuts.

        235. Mr. Schneider received the April 9, 2015 letter informing him that his

              budget would be changed as described above with respect to Plaintiff

              Waskul.

        236. The letter did not give notice to Mr. Schneider of his right to a Medi-

              caid Fair Hearing. Only much later, on November 18, 2015, did De-

              fendant give Mr. Schneider a notice of hearing rights and permit him

              to request an administrative hearing.

        237. The notice was not the required advance adverse action notice. It was

              given well after the budget reduction was implemented and incorrect-

              ly stated that the action taken was “adequate.”

        238. Because the notice described the action taken as “adequate,” the no-

              tice on its face did not provide Mr. Schneider an opportunity to re-

              quest a timely hearing and receive benefits pending, because pending


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              benefits require “a termination, reduction, or suspension of a service

              that was previously authorized.”

        239. The specific regulation cited in the notice simply stated that the

              amount, scope, and duration of an IPOS must be sufficient, and that

              the Medicaid agency “may not arbitrarily deny or reduce the amount,

              duration, or scope of a required service under §§ 440.210 and 440.220

              to an otherwise eligible beneficiary solely because of the diagnosis,

              type of illness, or condition.” Id.

        240. For the reasons outlined above, the rate reduction was not simply a

              new set rate for paid CLS providers. Rather, the budget was reduced,

              and amounts that previously had their own line items now had to be

              taken from a single amount calculated based solely on Mr. Schnei-

              der’s staff hours.

        241. As a consequence, the take-home pay both of Ms. Rozsa and of the

              other three CLS providers was reduced from the amounts that

              WCCMH and/or its predecessor had previously approved.

        242. Defendant WCCMH reduced Ms. Rozsa’s pay rate, which then fluc-

              tuated for no apparent reason in subsequent months between $11.50

              and $12.00 per hour.




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        243. After the May 15, 2015 budget recalculation, the pay rate for Mr.

              Schneider’s CLS providers was frozen at around $10 per hour for new

              providers.

        244. Because of the budget imposed by Defendant WCCMH, Mr. Schnei-

              der is unable to maintain his current paid CLS providers or find suita-

              ble replacement providers, and consequently is not receiving the med-

              ically necessary services required by his IPOS.

        245. After May 15, 2015, Mr. Schneider’s grandmother, Martha Schneider,

              made numerous attempts to find replacement CLS providers, posting

              at Eastern Michigan University and on care.com.

        246. Due to the low pay rate and the difficult nature of the work involved,

              Mr. Schneider was unable to find suitable replacement CLS staff.

        247. Between May 2015 and April 2016, Mr. Schneider could only employ

              two paid CLS providers for about sixty-five of his ninety-three then-

              scheduled hours a week. Mr. Schneider’s grandmother provided un-

              paid care for Mr. Schneider the remaining 103 hours of the week.

        248. Ms. Schneider is seventy-five years old and underwent heart surgery

              within the last year.




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        249. On February 18, 2016, ALJ Kibit granted Mr. Schneider’s Motion for

              Summary Disposition and ordered Defendant WCCMH to reverse the

              budget reduction.

        250. On March 4, 2016, Defendant WCCMH sent Mr. Schneider an Order

              Certification, certifying that ALJ Kibit’s Order had been implement-

              ed.

        251. However, Defendant WCCMH has not reversed the budget calcula-

              tion method.

        252. Although Mr. Schneider’s IPOS specifically requires him to have five

              days out in the community, Mr. Schneider is now unable to budget for

              additional medically necessary items like transportation and commu-

              nity activities without further reducing his CLS providers’ pay.

        253. Mr. Schneider’s grandmother has paid, and continues to pay, out of

              pocket for transportation and community activity expenses.

        254. On December 4, 2015, Mr. Schneider requested $400 monthly for

              transportation and $200 monthly for community activities. Mr.

              Schneider’s amended IPOS from December 4, 2015 states that “these

              costs are above what the current self-determination budget covers.”

        255. Defendant WCCMH did not provide Mr. Schneider notice of his hear-

              ing rights when it denied this request for medically necessary services.


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        256. Ms. Schneider was recently forced to hire her 77-year-old husband,

              Dick Schneider, to provide paid CLS services due to her inability to

              find providers willing to work at the low rate available under Defend-

              ants’ budget method.

        257. Over the 2016 Christmas holiday, Mr. Schneider’s grandfather pro-

              vided nearly 150 hours of paid CLS services.

        258. Mr. Schneider is receiving regular treatment for kidney failure.

        259. Another CLS provider recently quit, and Ms. Schneider is still unable

              to hire sufficient staff at the current rate.

        260. Mr. Schneider’s grandfather and grandmother are now providing

              around 75 hours of CLS services per week, nearly 50% of the CLS

              support required by Mr. Schneider’s IPOS, because Mr. Schneider is

              still short-staffed and cannot find CLS providers to work at the current

              rate.

  KEVIN WIESNER

        261. Plaintiff Wiesner incorporates all paragraphs above.

     A. Mr. Wiesner’s Disabilities; Background.

        262. Plaintiff Kevin Wiesner (Mr. Wiesner) is twenty years old. He has se-

              vere developmental disabilities and suffers from seizures.




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        263. Mr. Wiesner collapses during seizures and risks striking his head on

              objects while falling. In addition to preventing him from collapsing

              during seizures, his paid CLS providers must also pass a magnet over

              his Vagus Nerve Stimulator, which sends an electric charge to his

              brain. CLS staff must also ensure that Mr. Wiesner coughs up food to

              prevent blockage of his airways during seizures.

        264. Both Mr. Wiesner and his guardian are members of WACA.

        265. Mr. Wiesner receives about 85 hours of care per week in his IPOS.

        266. Mr. Wiesner requires at least two CLS staff with him at all times in

              public.

        267. Mr. Wiesner has been receiving CLS services under the HSW since he

              turned eighteen.

        268. Mr. Wiesner’s pre-May 15, 2015 hourly CLS provider rate of $12.00

              per hour allowed for transportation and community activities to be

              budgeted outside of the caregiver rate, although he did not have a

              written budget between the time he transitioned from the Children’s

              Waiver and the May 15, 2015 cuts.

     B. Effect of the May 15, 2015 Cuts.

        269. Mr. Wiesner’s IPOS requires medically necessary community activi-

              ties.


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        270. Mr. Wiesner’s guardian was prepared to ask that medically necessary

              transportation and community activity expenses be budgeted when she

              received the April 9, 2015 letter from Sally Amos O’Neal.

        271. The April 2015 letter and subsequent discussions with WCHO, De-

              fendant WCCMH’s predecessor, convinced Mr. Wiesner’s guardian

              that she could not budget for those medically necessary services with-

              out reducing Mr. Wiesner’s CLS providers’ pay rate to an unlivable

              wage.

        272. On May 15, 2015, Mr. Wiesner’s CLS budget was reduced and recal-

              culated as described above with respect to Plaintiffs Waskul and

              Schneider, so that the amount Mr. Wiesner could pay his CLS provid-

              ers was lowered to $11.50 per hour.

        273. The result was that Mr. Wiesner’s overall CLS budget was reduced,

              and the amount of services he could obtain was likewise reduced.

        274. This reduction caused Mr. Wiesner to breach his employment con-

              tracts with his CLS staff.

     C. Improper Notice of Hearing Rights and Lack of Benefits Pending.

        275. Mr. Wiesner received no notice of hearing rights either in April 2015,

              when the letter was sent, or on May 15, 2015, when the budget reduc-

              tion was instituted.


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        276. Mr. Wiesner refused to sign an amended IPOS in July 2015, which

              would have implemented the reduced budget in his IPOS.

        277. At that time, Mr. Wiesner received a notice of his hearing rights, dat-

              ed July 7, 2015 (a notice of “adequate action”), and requested a hear-

              ing.

        278. Defendant WCCMH reduced Mr. Wiesner’s services before providing

              the July 7, 2015 notice, which was not a negative advance action no-

              tice.

        279. Because the July 7th notice described the action taken as “adequate,”

              the notice on its face did not provide Mr. Wiesner an opportunity to

              request a timely hearing and receive benefits pending, because pend-

              ing benefits require a termination, reduction, or suspension of a ser-

              vice that was previously authorized.

        280. Mr. Wiesner was forced to pay his CLS providers reduced wages for

              two months.

        281. When Mr. Wiesner requested the hearing in August 2015, Defendant

              WCCMH raised his CLS rate, but not to the full prior amount.

        282. Instead, this was a “compromised” rate of $14.48, which WCCMH

              borrowed from the Children’s Waiver.

        283. Mr. Wiesner received no retroactive benefits for his CLS providers.


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        284. An administrative mix-up concerning Mr. Wiesner’s guardian paper-

               work prevented his hearing request from being properly processed un-

               til December 2015.

        285. Upon information and belief, it was only in December 2015 that Mr.

               Wiesner was told by Katie Snay, Fair Hearings Officer for WCCMH,

               that Defendant WCCMH had restored his CLS provider rate to the full

               $12.00.2

        286. Moreover, the pre-May 15, 2015 method of calculating the budget

               was not reinstated pending the Medicaid fair hearing.

        287. Mr. Wiesner’s guardian paid out of pocket for community activity and

               transportation expenses.

        288. When Mr. Wiesner’s guardian requested reimbursement for these ex-

               penses, she was told that additional line items would need to be added

               to his IPOS.

        289. Adding these additional budget line items would only continue to re-

               duce Mr. Wiesner’s CLS provider pay rate.


  2
    Although under the HSW a self-determination participant has the right to hire
  staff, the fiscal intermediary handles all administrative work pertaining to the CLS
  providers’ wages. The participant therefore would not know what the providers’
  rate is without looking at the providers’ pay stubs or asking the fiscal intermediary
  directly.


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        290. Since the budget reduction was imposed, Mr. Wiesner has lost one

              CLS provider due to the inability to pay sufficient wages.

        291. Over the past year, because of her inability to budget for additional

              services without reducing Mr. Wiesner’s hourly provider rate, Mr.

              Wiesner’s guardian had to pay for the majority of Mr. Wiesner’s

              community activity and transportation needs out of pocket.

        292. These expenses contributed to causing Mr. Wiesner’s guardian to fall

              behind on her property taxes, putting her at risk of foreclosure.

        293. Mr. Wiesner has suffered harm as a result of the illegal reduction in

              his CLS budget, and as a result of WCCMH’s refusal to budget for

              transportation and community activities.

        294. A state ALJ again ruled that WCCMH had inappropriately denied

              Kevin Wiesner medically necessary services (MAHS Docket No. 16-

              008576). ALJ Kibit found that WCCMH had both failed to comply

              with his March 16, 2016 Decision and Order and had improperly de-

              nied Ms. Kafafian’s new request for an increase in funding for Kev-

              in’s approved CLS budget.

        295. Defendant WCCMH appealed this decision, but reconsideration was

              denied.




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        296. Although Mr. Wiesner’s IPOS currently requires him to have 3 CLS

              providers, Mr. Wiesner’s guardian has been able to hire only two

              since January 2017 because the rate that she can offer is too low.

        297. Mr. Wiesner is currently receiving only about 80 of the 120 CLS

              hours per week required by his IPOS.

        298. Mr. Wiesner’s guardian is unable to work during the time she has to

              stay home with Mr. Wiesner, which has taken a financial toll on her.

        299. Mr. Wiesner’s behavioral issues have also become worse in the last

              few months due to being stuck at home more.

        300. Because Mr. Wiesner requires two-on-one staffing in the community,

              the inability to hire a third CLS provider has also negatively impacted

              Mr. Wiesner’s ability to get into the community during the hours that

              are currently provided. This is because Mr. Wiesner’s guardian now

              cannot balance her work schedule in such a way as to be home at the

              same time as the two CLS providers and accompany them into the

              community, due to the fact that she must stay home at other times to

              cover the hours that the third CLS staff would provide.

  ROGER ERLANDSON

        301. Plaintiff Erlandson incorporates all paragraphs above.




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        302. Mr. Erlandson suffers from severe autism and cognitive impairments.

              Although he is 37 years old, he requires 24/7 care and supervision.

        303. Both Mr. Erlandson and his guardian are members of WACA.

        304. Mr. Erlandson began receiving CLS services under the Habilitation

              Supports Waiver using a self-determination arrangement around four

              years ago.

        305. Because he receives 24/7 care, the costs WCCMH and CMHPSM in-

              cur with respect to his CLS services are coded H0043 for statistical

              reporting purposes. His actual staff budget, however, consists of a

              combination of per diem and hourly charges, depending on the pro-

              vider.

        306. In his pre-May 15, 2015 budgets, Mr. Erlandson had the ability to in-

              crease his spending for additional line item costs like transportation

              without reducing his hourly provider rate.

        307. Mr. Erlandson received the April 9, 2015 letter, attached as Exhibit D.

              The letter was sent only to Mr. Erlandson, not to his guardian, and did

              not give Mr. Erlandson notice of his right to a hearing.

        308. On May 15, 2015, Mr. Erlandson’s budget was reduced and recalcu-

              lated.




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        309. Mr. Erlandson’s guardian, desiring to request a Medicaid fair hearing,

              consulted with WCHO staff and a private attorney.

        310. Mr. Erlandson’s guardian was advised by WCHO staff that she did

              not have the right to request a hearing because there had been no re-

              duction in the amount, scope, or duration of services.

        311. Relying on the April 9, 2015 letter and the statements of WCHO, the

              private attorney advised that Mr. Erlandson’s guardian did not have

              the right to pursue a Medicaid fair hearing.

        312. Mr. Erlandson never received a post-June 4, 2015 notice of hearing

              rights.

        313. On the advice of a friend and fellow CLS self-determination guardian,

              Mr. Erlandson’s guardian stated her intention to file a grievance

              against WCHO, at which point she was offered, and accepted, the

              $14.48 “compromise” rate.

        314. Since the post-May 15, 2015 budget calculation method went into ef-

              fect, Mr. Erlandson has been unable to budget for the medically nec-

              essary services in his IPOS.

        315. Mr. Erlandson’s guardian expends significant out-of-pocket costs —

              well over $3,000 per year — for the medically necessary services and




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              supports in Mr. Erlandson’s IPOS that cannot be paid for under the

              post-May 2015 budget methodology.

        316. Most recently, Mr. Erlandson attempted to budget for a CLS staff su-

              pervisor, as explicitly provided for in his IPOS. The supervisor is nec-

              essary to train staff on Mr. Erlandson’s unique needs, and is specifi-

              cally included in Mr. Erlandson’s IPOS.

        317. The request was initially denied on the basis that it was not medically

              necessary, but all services described in the IPOS are medically neces-

              sary. In reality, under the new budget calculation method, WCCMH

              simply cannot budget for the supervisor without reducing another part

              of the budget.

        318. WCCMH was eventually forced to concede that hiring a supervisor

              was appropriate, but it continued to make no provision in the budget

              for doing so. In order to avoid reducing the wages of CLS staff to un-

              tenably low levels, Mr. Erlandson’s guardian has been forced to pay

              out of pocket for a significant portion of the cost of the supervisor.

        319. Mr. Erlandson continues to suffer harm each day that his pre-May 15,

              2015 CLS service levels and budget calculation method are not rein-

              stated.




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  LINDSAY TRABUE

        320. Plaintiff Trabue incorporates all paragraphs above.

        321. Ms. Trabue has been diagnosed with Down syndrome, and her IQ is

              38.

        322. Both she and her guardian are members of WACA.

        323. Ms. Trabue is non-verbal and possesses only the most basic functional

              skills. She requires 24/7 care.

        324. Ms. Trabue has received CLS services under a self-determination ar-

              rangement only since December 2015. Therefore, unlike the other

              named plaintiffs, she did not receive the April 2015 letter and experi-

              ence a budget reduction on May 15, 2015.

        325. However, Ms. Trabue has always been subject to the post-May 15,

              2015 budget calculation method, and has consequently suffered from

              a CLS budget in which the cost of non-staff services and supports is

              subtracted from an overall amount based on staff hours and a single,

              overall rate, thereby reducing the amount that can be paid to staff.

        326. Ms. Trabue’s overall rate started at $13.88, but was almost immedi-

              ately increased to $14.48 at the request of her guardian.

        327. From the beginning of her self-determination arrangement, Ms. Tra-

              bue’s budget has not included separate a line item for transportation


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              expenses, but requires transportation to be taken out of the overall

              amount calculated by applying the $14.48 rate to the approved staff

              hours in her IPOS.

        328. Because Ms. Trabue travels around 600 miles per month to meet her

              medically necessary community involvement needs, and the cost of

              that transportation reduces her providers’ hourly wages.

        329. From the beginning of her self-determination arrangement, Ms. Tra-

              bue’s budget has not included a separate a line item for community

              activity expenses, but would require such expenses, if paid for by De-

              fendant CMHPSM, to be taken out of the overall amount calculated

              by applying the $14.48 rate to the approved staff hours in Ms. Tra-

              bue’s IPOS.

        330. For example, Ms. Trabue has been diagnosed with non-alcoholic fatty

              liver disease, requiring significant physical activity each week.

        331. Pursuant to her IPOS, Ms. Trabue participates in disabled bowling,

              yoga, dance, and gym activities, in part for her physical needs and in

              part to further her community integration.

        332. The expense of these activities is and should be the obligation of De-

              fendant CMHPSM, but Ms. Trabue’s guardian has been forced to pay

              for all of these expenses out of pocket. She cannot take these expenses


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              out of the providers’ pay, as she did with transportation, because do-

              ing so would reduce the providers’ hourly rate to an untenable level.

        333. Because of Defendants’ budgeting method and the capping of Ms.

              Trabue’s budget at $14.48 times the IPOS staff hours, Ms. Trabue

              cannot add additional money for transportation or community activi-

              ties without losing other medically necessary services and supports.

  HANNAH ERNST

        334. Plaintiff Ernst incorporates all paragraphs above.

        335. Ms. Ernst has been diagnosed with Angelman Syndrome, a seizure

              disorder, and a moderate cognitive impairment.

        336. She is 20 years old, but cannot function independently.

        337. Both she and her guardians are members of WACA.

        338. Ms. Ernst was living at her guardians’ home in May 2015 and em-

              ploying one CLS provider during the week.

        339. When the May 15, 2015 reduction went into effect, the provider’s pay

              rate suddenly decreased from about $16 per hour to about $11.88 per

              hour.

        340. This provider subsequently quit due to the reduced rate.

        341. Due to her difficulty finding staff at the reduced rate, Ms. Ernst’s

              guardians tried using a provider agency to receive services.


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        342. The provider agencies were not suitable for many reasons, and Ms.

              Ernst resumed a self-determination arrangement in July 2016.

        343. In July 2016, Ms. Ernst was no longer living with her guardians and

              required additional staff.

        344. Ms. Ernst’s guardians hired four CLS providers, but were only able to

              do so because they had resolved to pay for all transportation and

              community activities themselves in order to offer a living wage.

        345. To this day, Ms. Ernst’s guardians pay out of pocket for all communi-

              ty activity and transportation expenses.

        346. This is because, should Ms. Ernst budget for transportation and com-

              munity activities in her individual budget, her provider rate would be

              reduced to an untenable level.

        347. All of the transportation and community activities for which she is

              paying out of pocket are provided for in Ms. Ernst’s IPOS.

        348. Ms. Ernst’s guardians pay about $1,000 out of pocket per month for

              these activities and transportation costs.

  WASHTENAW ASSOCIATION FOR COMMUNITY ADVOCACY (WACA)

        349. Plaintiff WACA incorporates all paragraphs above.

        350. WACA is a non-profit organization, established in 1949.




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        351. Its mission and purpose include advocating for persons with develop-

              mental disabilities and their families in order to help them obtain and

              maintain services.

        352. WACA frequently advocates for self-determination recipients, often

              through participation in the person-centered planning process, and it

              regularly fields calls regarding CLS self-determination from partici-

              pants and their guardians, providing information and answers to client

              questions.

        353. In addition to helping its members obtain services, WACA often pro-

              vides representation to individuals whose services are reduced or ter-

              minated in administrative law hearings.

        354. Its service population is comprised mainly of persons with disabilities

              and their families.

        355. Its members include recipients of CLS services and their providers.

        356. All HSW CLS services recipients in Washtenaw County qualify for

              WACA’s services.

        357. All named individual Plaintiffs are members of WACA.

        358. Many of WACA’s clients, including the named individual Plaintiffs in

              this case, have been directly harmed by Defendants' practices.




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        359. WACA has an interest in protecting the interests of its developmental-

              ly disabled members.

        360. The relief sought in this lawsuit would directly benefit WACA and its

              developmentally disabled members.

        361. WACA has seen an increase in the number of advocacy requests from

              individuals with developmental disabilities who receive self-

              determination CLS services from Defendant WCCMH in 2015 and

              2016, due to the reductions at issue in this case.

                              CLAIMS FOR RELIEF

  COUNT I – FAILURE TO PROVIDE CONSTITUTIONALLY ADEQUATE
   NOTICE AND RIGHT TO BE HEARD (All Plaintiffs Against Defendants
                   Cortes, Terwilliger, and Gordon)

        362. Plaintiffs incorporate all paragraphs above.

        363. The right to procedural due process is secured by the 14th Amend-

              ment, and public benefits are a constitutionally-protected property in-

              terest. See Goldberg v Kelly, 397 U.S. 254, 262 (1970).

        364. Medicaid participants’ hearing and notice rights under Goldberg are

              codified at 42 C.F.R. § 431.205(d): “The hearing system must meet

              the due process standards set forth in Goldberg v. Kelly, 397 U.S. 254

              (1970), and any additional standards specified in this subpart.”




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        365. Under Goldberg, the state must provide a meaningful notice stating

              the basis for the action and, when coverage is to be reduced or termi-

              nated, a pre-termination notice informing the claimant of the right to

              continue benefits pending a final administrative decision.

        366. “The notice must comprise (1) a detailed statement of the intended ac-

              tion . . . (2) the reason for the change in status . . . (3) citation to the

              specific statutory section requiring reduction or termination; and (4)

              specific notice of the recipient’s right to appeal.” Barry v. Lyon, 834

              F.3d 706, 719 (6th Cir. 2016).

        367. In this case, Defendant WCCMH simply sent the April 2015 letter to

              all CLS participants in the county notifying them that the reduced

              rate/budget would be unilaterally imposed effective May 15, 2015.

        368. Plaintiffs and the members of WACA were not advised in the letter of

              their right to appeal the rate and budget reduction, how to appeal, or

              how to obtain continued services pending the outcome of a hearing.

        369. Defendant WCCMH reduced Plaintiffs’ services, and those of the

              members of WACA, on May 15, 2015, well before providing the post-

              June 4, 2015 notices, which were not negative advance action notices.

        370. Because the post-June 4th notices described the action taken as “ade-

              quate,” the notices on their face did not provide participants an oppor-


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              tunity to request a timely hearing and receive benefits pending, be-

              cause pending benefits require a termination, reduction, or suspension

              of a service that was previously authorized.

        371. The specific regulation cited in the post-June 4, 2015 notices states

              only that the amount, scope, and duration of an IPOS must be suffi-

              cient, and that the Medicaid agency “may not arbitrarily deny or re-

              duce the amount, duration, or scope of a required service under [42

              C.F.R.] §§ 440.210 and 440.220 to an otherwise eligible beneficiary

              solely because of the diagnosis, type of illness, or condition.”

        372. Not all recipients, including two of the named plaintiffs, even received

              this post-June 4, 2015 notice.

        373. Defendants violated Plaintiffs’ constitutional rights to due process,

              rights secured by the 5th and 14th Amendments and enforceable by

              Plaintiffs pursuant to 42 U.S.C. § 1983, when they did not allow

              Plaintiffs an opportunity to be heard and contest the reduction of their

              CLS services.

        374. Defendants violated the constitutional rights of the members of

              WACA to due process, rights secured by the 5th and 14th Amend-

              ments and enforceable by the members of WACA pursuant to 42

              U.S.C. § 1983, when they did not allow the members of WACA an


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              opportunity to be heard and contest the reduction of their CLS ser-

              vices.

        375. Defendants’ actions, under color of state law, have harmed Plaintiffs

              and the members of WACA by depriving them, and continuing to de-

              prive them, of medically necessary care, disrupting and diminishing

              their development and mental health.

  COUNT II – VIOLATION OF STATUTORY RIGHT TO NOTICE AND AN
  OPPORTUNITY TO BE HEARD (All Plaintiffs Against Defendants Cortes,
                      Terwilliger, and Gordon)

        376. Plaintiffs incorporate all paragraphs above.

        377. The Medicaid Act requires that a “State plan for medical assistance

              must . . . provide for granting an opportunity for a fair hearing before

              the State agency to any individual whose claim for medical assistance

              under the plan is denied or not acted upon with reasonable prompt-

              ness.” 42 U.S.C. § 1396a(a)(3).

        378. 42 C.F.R. 431.200 “[i]mplements section 1902(a)(3) [1396a(a)(3)] of

              the Act, which requires that a State plan provide an opportunity for a

              fair hearing to any person whose claim for assistance is denied or not

              acted upon promptly.”




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        379. 42 C.F.R. § 431.206 provides that the state must provide notice of a

              beneficiary’s right to a hearing and instructions on how to request it

              “[a]t the time of any action affecting his or her claim.”

        380. Notice given under 42 C.F.R § 431.210 must “contain (a) A statement

              of what action the State … intends to take; (b) The reasons for the in-

              tended action; (c) The specific regulations that support, or the change

              in Federal or State law that requires, the action; (d) An explanation

              of— (1) The individual's right to request an evidentiary hearing if one

              is available, or a State agency hearing; or (2) In cases of an action

              based on a change in law, the circumstances under which a hearing

              will be granted; and (e) An explanation of the circumstances under

              which Medicaid is continued if a hearing is requested.”

        381. If a beneficiary requests a hearing before the date of action, the State

              may not terminate or reduce services until a decision is rendered after

              the hearing, unless it is determined at the hearing that the sole issue is

              one of Federal or State law or policy, and the agency promptly in-

              forms the beneficiary in writing that services are to be terminated or

              reduced pending the hearing decision. 42 C.F.R § 431.230(a)(1) and

              (2).




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        382. The budget reductions imposed by Defendant WCCMH were and are

              a reduction of a previously authorized service.

        383. Defendant WCCMH simply sent out a letter in April 2015 stating that

              participants’ CLS rates would be reduced and additional budget items

              included in (i.e. subtracted from) that rate.

        384. Defendant WCCMH did not provide HSW participants adequate no-

              tice of hearing rights when it reduced their budgets on May 15, 2015.

        385. Plaintiffs and the members of WACA were and are entitled to contin-

              ued services under 42 C.F.R § 431.230 and 42 C.F.R § 431.210.

        386. The post-June 4, 2015 notices did not provide HSW participants ade-

              quate notice of their hearing rights pursuant to 42 C.F.R § 431.210.

        387. Defendant WCCMH reduced Plaintiffs’ services, and those of the

              members of WACA, before providing the post-June 4, 2015 notices,

              which were not negative advance action notices.

        388. Because the post-June 4th notices described the action taken as “ade-

              quate,” the notices on their face did not provide participants an oppor-

              tunity to request a timely hearing and receive benefits pending, be-

              cause pending benefits require “a termination, reduction, or suspen-

              sion of a service that was previously authorized.”




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        389. The specific regulation cited in the post-June 4, 2015 notices simply

              states that the amount, scope, and duration of an IPOS must be suffi-

              cient, and that the Medicaid agency “may not arbitrarily deny or re-

              duce the amount, duration, or scope of a required service under

              §§ 440.210 and 440.220 to an otherwise eligible beneficiary solely

              because of the diagnosis, type of illness, or condition.”

        390. Not all recipients, including two of the named plaintiffs, even received

              this post-June 4, 2015 notice.

        391. Defendant WCCMH violated Plaintiffs’ right, and the rights of the

              members of WACA, to statutory due process by failing to provide

              proper notice.

        392. Defendants have violated Plaintiffs’ clearly established rights under

              42 U.S.C. § 1396a(a)(3), rights enforceable by Plaintiffs pursuant to

              42 U.S.C. § 1983. See Gean v. Hattaway, 330 F.3d 758 (6th Cir.

              2003).

        393. Defendants’ actions, under color of state law, have harmed Plaintiffs

              and the members of WACA by depriving them, and continuing to de-

              prive them, of medically necessary care, disrupting and diminishing

              their development and mental health.




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  COUNT III – VIOLATION OF SOCIAL SECURITY ACT – FAILURE TO
  AUTHORIZE SERVICES IN THE AMOUNT, SCOPE, OR DURATION TO
    REASONABLY ACHIEVE THEIR PURPOSE (All Plaintiffs Against
               Defendants Cortes, Terwilliger, and Gordon)

        394. Plaintiffs incorporate all paragraphs above.

        395. Under 42 U.S.C. § 1396a(a)(10)(B), the individual Plaintiffs and the

              members of WACA have the right to services in the amount, scope,

              and duration akin to those of any other such individual under Medi-

              caid.

        396. Under 42 C.F.R. § 440.230(b), “[e]ach service must be sufficient in

              amount, duration, and scope to reasonably achieve its purpose.”

        397. The individual Plaintiffs and the members of WACA receive home

              and community based services to assist them with participating in

              community activities and to prevent institutionalization.

        398. CMS waived MDHHS’s obligation to comply with the comparability

              requirements of § 1396a(a)(10)(B) in the HSW (implemented by 42

              C.F.R. § 440.230(a)), but not the sufficiency requirements set forth in

              42 C.F.R. § 440.230(b).

        399. The service group specified in the State’s HSW must still receive ser-

              vices sufficient in amount, duration, and scope to reasonably achieve

              their purpose.



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        400. Defendants' reduction of the individual Plaintiffs’ IPOS budgets, and

              those of the members of WACA, has frustrated the purpose of the

              medically necessary services set forth in the IPOSs.

        401. The individual Plaintiffs have not received, and are currently not re-

              ceiving, services sufficient in scope to achieve the services' purpose,

              in   violation   of   their   established   rights   under   42   U.S.C.

              § 1396a(a)(10)(B) and 42 C.F.R. § 440.230(b), rights enforceable by

              Plaintiffs pursuant to 42 U.S.C. § 1983.

        402. Defendants’ budgeting methodology systematically creates an unac-

              ceptable risk that each of the members of WACA will not receive ser-

              vices sufficient in scope to achieve the services' purpose, in violation

              of their established rights under 42 U.S.C. § 1396a(a)(10)(B) and 42

              C.F.R. § 440.230(b), rights enforceable by the individual Plaintiffs,

              and by WACA on behalf of its members, pursuant to 42 U.S.C.

              § 1983.

        403. Defendants' actions, under color of state law, have harmed the indi-

              vidual Plaintiffs and the members of WACA by depriving them of

              medically necessary care and disrupting their development and mental

              health.




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   COUNT IV – VIOLATION OF SOCIAL SECURITY ACT – RIGHT TO
  RECEIVE SERVICES WITH REASONABLE PROMPTNESS (All Plaintiffs
           Against Defendants Cortes, Terwilliger, and Gordon)

        404. Plaintiffs incorporate all paragraphs above.

        405. The Social Security Act, 42 U.S.C. § 1396a(a)(8) and (a)(10), requires

              the State to furnish medical assistance with reasonable promptness to

              all eligible individuals.

        406. Medical assistance includes “community supported living arrange-

              ment services” as defined in 42 U.S.C. §§ 1396u(a) and1396d(a)(23).

        407. “Community supported living arrangement services” is defined as ap-

              proved services which assist a developmentally disabled individual

              “in activities of daily living necessary to permit such individual to live

              in the individual’s own home, apartment, family home, or rental unit

              furnished in a community supported living arrangement setting.” 42

              U.S.C. § 1396u.

        408. It also includes “[s]upport services necessary to aid an individual to

              participate in community activities.” 42 U.S.C. § 1396u(a)(7).

        409. The individual Plaintiffs’ support services, which allowed them to

              participate in the community, have been curtailed because their CLS

              budgets have been reduced and have been capped by application of a




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              fixed rate to staff hours in the IPOS, regardless of the extent of non-

              staff services and supports specified in their IPOSs.

        410. In numerous cases, paid CLS providers cannot be readily found to

              work at the low rates available in such Plaintiffs’ budgets under the

              new budgeting method.

        411. Several of such Plaintiffs’ CLS providers have quit as a result of re-

              ductions and uncertainty in their pay. For the same reasons, replace-

              ments are generally unavailable, or are available only with significant

              delays.

        412. Defendants have failed to make services available to the individual

              Plaintiffs by imposing low reimbursement rates and refusing services

              based on cost.

        413. Defendants have failed to make services available to the individual

              Plaintiffs by capping their budgets without regard to the extent of non-

              staff services and supports specified in their IPOSs and in not allow-

              ing them to budget for additional medically necessary services and

              supports.

        414. This makes it impossible for participants to obtain adequate medically

              necessary services with reasonable promptness, in violation of 42

              U.S.C. §§ 1396a(a)(8) and 1396 a(a)(10)(A).


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        415. Defendants have also violated state policy prohibiting services from

              being denied “solely on preset limits of the cost, amount, scope, and

              duration of services.” MPM, § 2.5.C., pg. 14.

        416. The post-May 15, 2015 budget calculation method and consequent in-

              adequate provider reimbursement rates have effectively denied Plain-

              tiffs the right to medical assistance in violation of 42 U.S.C.

              §§ 1396a(a)(8) and (10)(A).

        417. Defendants’ budgeting methodology systematically creates an unac-

              ceptable risk that each of the members of WACA will not receive ad-

              equate medically necessary services with reasonable promptness, in

              violation of 42 U.S.C. §§ 1396a(a)(8) and 1396 a(a)(10)(A).

        418. Defendants have violated the individual Plaintiffs’ clearly established

              rights, and those of the members of WACA, under 42 U.S.C.

              §§ 1396a(a)(8) and (10)(A), rights enforceable by the individual

              Plaintiffs, and by WACA on behalf of its members, pursuant to 42

              U.S.C. § 1983.

        419. Defendants’ actions, under color of state law, have harmed the indi-

              vidual Plaintiffs and the members of WACA by depriving them of

              medically necessary care and disrupting and diminishing their devel-

              opment and mental health.


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    COUNT V – VIOLATION OF ADA, TITLE II, 42 U.S.C. § 12131 ET SEQ.
    (All Plaintiffs Against Defendants Gordon, Terwilliger, Cortes, CMHPSM,
                                  and WCCMH)

        420. Plaintiffs incorporate all paragraphs above.

        421. Title II of the Americans with Disabilities Act (ADA) of 1990 (Title

              II), 42 U.S.C. § 12131 et seq., provides that “no qualified individual

              with a disability shall, by reason of such disability, be excluded from

              participation in or be denied the benefits of the service, programs, or

              activities of a public entity, or be subjected to discrimination by any

              such entity.” 42 U.S.C. § 12132. Rights of action with respect to vio-

              lations of Title II are expressly conferred by 42 U.S.C. § 12133.

        422. A public entity shall administer services, programs, and activities in

              the most integrated setting appropriate to the needs of qualified indi-

              viduals with disabilities. 28 C.F.R. § 35.130(d).

        423. “[T]he most integrated setting appropriate to the needs of qualified in-

              dividuals with disabilities mean[s] a setting that enables individuals

              with disabilities to interact with non-disabled persons to the fullest ex-

              tent possible.” Olmstead v. L.C. ex rel. Zimring, 527 U.S. 581, 591

              (1999) (quoting 28 C.F.R. pt. 35, App. A, p. 450 (1998)) (internal

              quotation marks omitted).




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        424. The ADA prohibits both outright discrimination and “identified unjus-

              tified ‘segregation’ of persons with disabilities.” Olmstead, 527 U.S.

              at 600 (quoting § 12101(a)(2)). “Unjustified isolation” is therefore

              “properly regarded as discrimination based on disability.” Id. at 597.

        425. “Institutional placement of persons who can handle and benefit from

              community settings perpetuates unwarranted assumptions that persons

              so isolated are incapable or unworthy of participating in community

              life.” Id. at 600.

        426. Isolation in a home can just as “severely diminish[] the everyday life

              activities” of people with disabilities. Id. at 601. See Steimel v. Wer-

              nert, 823 F.3d 902 (7th Cir. 2016).

        427. MDHHS, CMHPSM, and WCCMH are public entities receiving fed-

              eral funds to administer the Medicaid program in Michigan. 42 U.S.C.

              § 12131(1).

        428. The individual Plaintiffs and the members of WACA are individuals

              with a disability within the meaning of the ADA. 42 U.S.C.

              § 12102(1). Specifically, they are individuals whose impairment sub-

              stantially limits one or more of their major life activities, who have a

              record of the impairment, and who are regarded by Defendants as hav-

              ing the impairment.


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        429. The individual Plaintiffs and the members of WACA are qualified in-

              dividuals, as that term is defined in the ADA. 42 U.S.C. § 12131(2).

              With or without reasonable modifications to the Defendants' rules,

              policies, or practices, Plaintiffs meet the essential eligibility require-

              ments to receive Medicaid.

        430. Defendants have violated the ADA and have injured the individual

              Plaintiffs and the members of WACA by failing to provide them with

              CLS services for which they are eligible, thereby failing to provide

              services in the most integrated setting appropriate to their needs, de-

              priving them of medical and related services, increasing the risk of in-

              stitutionalization, and disrupting and diminishing their development

              and mental health.

        431. Defendants have further violated the ADA because the top-down

              budgeting practice that they have imposed creates a systematic risk

              that any CLS recipient with a significant amount of non-staff services

              in his or her IPOS, including all of the individual Plaintiffs and many

              members of WACA, will be unable to obtain CLS services for which

              s/he is eligible, will not receive services in the most integrated setting

              appropriate to his or her needs, will be deprived of medical and relat-




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              ed services, will face increased risk of institutionalization, and will be

              disrupted and diminished in his or her development and mental health.

        432. Defendants have further caused Plaintiffs Waskul and Wiesner to be

              confined to their homes for substantial and unjustifiable periods of

              time, due to the inability to hire sufficient and appropriate CLS staff

              to take them into the community. This does not merely place these

              Plaintiffs at risk of institutionalization; it is effectively equivalent to

              actual institutionalization.

        433. Defendants can avoid continuing these discriminatory activities

              through reasonable modifications of their programs and services. 28

              C.F.R. § 35.130(b)(7).

        434. Defendants have violated Plaintiffs’ clearly established rights under

              42 U.S.C. § 12132, rights enforceable by Plaintiffs pursuant to 42

              U.S.C. §§ 1983, 12133.

    COUNT VI – VIOLATION OF REHABILITATION ACT, 29 U.S.C. § 794
                  (All Plaintiffs Against All Defendants)

        435. Plaintiffs incorporate all paragraphs above and specifically refer to the

              allegations of Count V.

        436. Section 504 of the Rehabilitation Act, 29 U.S.C. § 794, together with

              its implementing regulations, including 28 C.F.R. § 41.51(d) and 45

              C.F.R. § 84.4(b)(vii)(2), and the right of action granted by 29 U.S.C.

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              § 794a, are all construed in pari materia with the ADA with respect to

              Olmstead/“most integrated setting” claims.

        437. By continuing to participate in the Medicaid program, and continuing

              to accept federal funding therefor, after enactment of 42 U.S.C.

              § 2000d-7, the State of Michigan has waived its Eleventh Amendment

              immunity for claims under the Rehabilitation Act related to its con-

              duct of the Medicaid program.

        438. Plaintiffs therefore have a right to relief under 29 U.S.C. § 794a

              against all Defendants for violation of Section 504 of the Rehabilita-

              tion Act, 29 U.S.C. § 794, to the same extent they have a right to relief

              against Defendants Gordon, Cortes, and Terwilliger as alleged in

              Count V.

  COUNT VII – VIOLATION OF 42 U.S.C. § 1396n(c)(2)(A) — FAILURE TO
   TAKE NECESSARY SAFEGUARDS TO PROTECT THE HEALTH AND
  WELFARE OF WAIVER SERVICES RECIPIENTS (All Plaintiffs Against
                        Defendant Gordon)

        439. Plaintiffs incorporate all of the paragraphs above.

        440. Pursuant to 42 U.S.C. § 1396n(c)(2)(A), “[a] waiver shall not be

              granted under this subsection unless the State provides assurances sat-

              isfactory to the Secretary that . . . necessary safeguards (including ad-

              equate standards for provider participation) have been taken to protect



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              the health and welfare of individuals provided services under the

              waiver.” See also 42 C.F.R. § 441.302(a).

        441. These necessary safeguards include “adequate standards for all types

              of providers that provide services under the waiver,” 42 C.F.R.

              § 441.302(a)(1); and “assurance that services are provided in home

              and community based settings, as specified in § 441.301(c)(4),” 42

              C.F.R. § 441.302(a)(5).

        442. These “home and community based settings” must support “full ac-

              cess of individuals receiving Medicaid HCBS to the greater communi-

              ty, including opportunities to seek employment and work in competi-

              tive integrated settings, engage in community life, control personal re-

              sources, and receive services in the community, to the same degree of

              access as individuals not receiving Medicaid HCBS,” 42 C.F.R.

              § 441.301(c)(4)(i); must optimize, “but . . . not regiment, individual

              initiative, autonomy, and independence in making life choices, includ-

              ing but not limited to, daily activities, physical environment, and with

              whom to interact,” 42 C.F.R. § 441.301(c)(4)(iv); and must facilitate

              “individual choice regarding services and supports, and who provides

              them,” 42 C.F.R. § 441.301(c)(4)(v).




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        443. Defendants WCCMH and CMHPSM’s new budgeting method, which

              imposes a cap on the amount of CLS services self-determination re-

              cipients can receive, is not based on any sort of evaluation of the med-

              ical needs of the individual waiver program recipients, therefore put-

              ting recipients subject to the cap at risk.

        444. In allowing MDHHS’s contractual agents to impose such a cap, De-

              fendant Gordon (director of the single state agency responsible for

              administering the Medicaid program) has failed to take necessary

              safeguards to protect the health and welfare of individuals provided

              services under the HSW waiver.

        445. By allowing MDHHS’s contractual agents to require that participants

              start with a fixed H2015 or H0043 rate and work backwards to an

              amount that can be paid for staff by subtracting out the cost of all the

              non-staff services and supports, Defendant Gordon has failed to en-

              sure adequate standards for the self-determination providers who pro-

              vide services under the waiver, because recipients are often left with

              inadequate funds to pay staff.

        446. By allowing MDHHS’s contractual agents to cap CLS self-

              determination recipients’ budgets without consideration of individual

              medical needs or goals, Defendant Gordon has failed to ensure that


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              services are provided in the home and community based settings spec-

              ified in 42 C.F.R. § 441.301(c)(4), because recipients are no longer

              able to access and participate in the community to the extent and in

              the manner necessitated by their individual plans of service; because

              recipients are unable to optimize individual initiative, autonomy, and

              independence in making life choices; and because recipients’ choices

              regarding services, supports, and providers are limited rather than fa-

              cilitated.

        447. The requirements of 1396n(c)(2)(A) are clearly intended to protect the

              health and welfare of Medicaid recipients receiving services under the

              HSW waiver, to confer rights on such recipients, and to impose a

              mandatory duty on the State. This mandatory duty is neither vague nor

              amorphous; rather, it is an unambiguous directive.

        448. Defendant Gordon has violated the rights of the individual Plaintiffs

              and the members of WACA under 42 U.S.C. § 1396n(c)(2)(A), rights

              enforceable by Plaintiffs and the members of WACA pursuant to 42

              U.S.C. § 1983.

         COUNT VIII – VIOLATION OF 42 U.S.C. § 1396n(c)(2)(C) —
       FAILURE TO PROVIDE A MEANINGFUL CHOICE BETWEEN
     INSTITUTIONALIZATION AND HOME AND COMMUNITY BASED
            SERVICES (All Plaintiffs Against Defendant Gordon)

        449. Plaintiffs incorporate all of the paragraphs above.

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        450. Pursuant to 42 U.S.C. § 1396n(c)(2)(C), “[a] waiver shall not be

              granted under this subsection unless the State provides assurances sat-

              isfactory to the Secretary that . . . such individuals who are determined

              to be likely to require the level of care provided in a hospital, nursing

              facility, or intermediate care facility for the mentally retarded are in-

              formed of the feasible alternatives, if available under the waiver, at

              the choice of such individuals, to the provision of inpatient hospital

              services, nursing facility services, or services in an intermediate care

              facility for the mentally retarded.” See also 42 C.F.R. § 441.302(d).

        451. By allowing MDHHS’s contractual agents to require that participants

              start with a fixed H2015 or H0043 rate and work backwards to an

              amount that can be paid for staff by subtracting out the cost of all the

              non-staff services and supports, Defendant Gordon has failed to en-

              sure that waiver participants have a meaningful choice between home-

              and-community-based services and institutionalization, because the

              participants’ consequent inability to pay adequate staff wages (or, un-

              der Hobson’s Choice, to pay adequate staff wages only by forgoing

              vital non-staff services) leaves the participants at risk of — and, in

              many cases, in fact — being effectively homebound, unable to get out




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              into the community and unable to receive necessary care, services,

              and support.

        452. The “choice” between such a home-based existence and actual institu-

              tionalization is in fact no choice at all, and putting participants to such

              a “choice” violates the express assurances required under 42

              U.S.C. § 1396n(c)(2)(C).

        453. The requirements of 1396n(c)(2)(C) are clearly intended to protect the

              health and welfare of Medicaid recipients receiving services under the

              HSW waiver, to confer rights on such recipients, and to impose a

              mandatory duty on the State. This mandatory duty is neither vague nor

              amorphous; rather, it is an unambiguous directive.

        454. Defendant Gordon has violated the rights of the individual Plaintiffs

              and the members of WACA under 42 U.S.C. § 1396n(c)(2)(C), rights

              enforceable by Plaintiffs and the members of WACA pursuant to 42

              U.S.C. § 1983.

    COUNT IX – THIRD-PARTY BENEFICIARY CLAIM FOR VIOLATION
    OF ASSURANCES GIVEN IN THE HSW WAIVER APPLICATION AND
     IMPLEMENTED IN THE MDHHS/PIHP CONTRACTS (All Plaintiffs
           Against Defendants Gordon, Terwilliger, and CMHPSM)

        455. This Count arises under 42 U.S.C. § 1983 against Defendants Gordon

              and Terwilliger by reason of (a) Defendant Gordon’s failure to en-

              force MDHHS’s responsibilities as the single state agency responsible

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              for administering Michigan’s Medicaid program, and (b) Defendant

              Terwilliger’s failure to ensure that Defendant CMHPSM complies

              with the PIHP Contract described below.

        456. This Count also arises under the common law of Michigan and/or fed-

              eral common law against Defendant CMHPSM. To the extent the

              claim arises under Michigan law, this Court has supplemental jurisdic-

              tion under 28 U.S.C. § 1367.

        457. As the single state agency responsible for administering Michigan’s

              Medicaid program, MDHHS has a non-delegable duty to ensure com-

              pliance by its contractors and subcontractors with all requirements of

              the program, including such policies, rules, or regulations as it issues

              or undertakes in connection with the program. That duty arises under

              federal law (specifically 42 U.S.C. § 1396a(a)(5) and 42 C.F.R

              § 431.10).

        458. MDHHS has the right to, and does, subcontract for the performance of

              certain of those duties, but MDHHS remains responsible for its sub-

              contractors’ performance.

        459. MDHHS has implemented its responsibilities through, in part, a Med-

              icaid   Managed    Specialty      Supports   and   Services   Concurrent

              1915(b)/(c) Waiver Program Contract (the PIHP Contract) with


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              CMHPSM. The terms quoted herein are taken from the form PIHP

              Contract for Fiscal Year 2017, but on information and belief the actual

              contracts executed by MDHHS and CMHPSM throughout the rele-

              vant period contained materially identical terms.

        460. In the PIHP Contract, Defendant CMHPSM agreed with MDHHS,

              among other things, as follows:

              a. “Operation of the Concurrent 1915(b)/(c) Program must conform

                 to . . . each . . . Waiver.” (Section 7.0, “PIHP Responsibilities”; the

                 Habilitation Supports Waiver at issue in this action is expressly in-

                 cluded in that agreement).

              b. The provisions of each Waiver were expressly incorporated into

                 the PIHP Contract (Section 13.0F, “Entire Agreement,” expressly

                 incorporating “Approved Medicaid Waivers and corresponding

                 CMS conditions”).

              c. In Section 3.0 (Service Requirements) in the Statement of Work in

                 the PIHP Contract, CMHPSM obligated itself as follows:

                    The PIHP shall provide covered state plan or 1915(c) ser-
                    vices (for beneficiaries enrolled in the 1915(c) Habilitation
                    Supports Waiver) in sufficient amount, duration and scope
                    to reasonably achieve the purpose of the service. Consistent
                    with 42 CFR 440.210 and 42 CFR 440.220, services to re-
                    cipients shall not be reduced arbitrarily. Criteria for medical
                    necessity and utilization control procedures that are con-
                    sistent with the medical necessity criteria/service selection

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                       guidelines specified by MDHHS and based on practice
                       standards may be used to place appropriate limits on a ser-
                       vice (CFR 42 sec.440.230).

        461. Plaintiffs and the members of WACA are third-party beneficiaries of

              the PIHP Contract, because the agreement was made for their benefit

              and was intended by the parties thereto to be enforceable by the recip-

              ients against Defendant CMHPSM. In particular (and without limita-

              tion):

              a. The PIHP Contract does not contain any provisions disclaiming

                 third-party beneficiary rights.

              b. Parallel MDHHS contracts (those for General State Fund Services)

                 state that they do not create rights in recipients to certain services

                 that are funded solely by the State, since those services are de-

                 pendent on State appropriations and thus are not “entitlements.”

                 The services at issue in this action, however, are Medicaid services

                 that are entitlements, and the contracts therefore do create rights in

                 recipients with respect to those services.

        462. In applying for the Habilitation Supports Waiver, the State of Michi-

              gan was required to, and did, give certain assurances to CMS about

              how activities under the waiver (if granted) would be conducted and

              how the rights of participants such as these Plaintiffs and the members


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              of WACA would be protected. Upon CMS’s granting of the waiver,

              the assurances became binding contractual obligations of the MDHSS

              to CMS.

        463. Under the PIHP Contract, Defendant CMHPSM is obligated to carry

              through MDHSS’s obligations, and Plaintiffs and the members of

              WACA, as third-party beneficiaries, have the right to enforce

              CMHPSM’s obligations.

        464. Certain of the HSW assurances are as alleged in Counts VI and VII

              hereof. Also as alleged therein, violations of those assurances are en-

              forceable by Plaintiffs and WACA (on behalf of its members) against

              Defendant Gordon pursuant to 42 U.S.C. § 1983.

        465. The assurances given in the Waiver Application, however, included

              far more than boilerplate, check-the-box agreement to comply with

              the law. They included detailed and specific promises by MDHHS, in

              words chosen by the MDHHS, to conduct the waiver programs in cer-

              tain ways.

        466. Among these assurances were the following:

              a. In Appendix C-4 of the application, Michigan checked the box that

                 “The State does not impose a limit on the amount of waiver ser-




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                 vices except as provided in Appendix C-3” (which does not have

                 any limits applicable here).

              b. In Appendix E-1 (at p. 123 of 192), Michigan states (emphasis

                 added):

                    An individual plan of service (IPOS) will be developed
                    through this process with the participant, supports coordina-
                    tor or other chosen qualified provider, and allies chosen by
                    the participant. The plan will include the HSW waiver ser-
                    vices needed by and appropriate for the participant. An in-
                    dividual budget is developed based on the services and sup-
                    ports identified in the IPOS and must be sufficient to im-
                    plement the IPOS.

              c. In Appendix E-2 (Opportunities for Participant-Direction), Michi-

                 gan states:

                    The amount of the individual budget is determined by cost-
                    ing out the services and supports in the IPOS, after a IPOS
                    that meets the participant’s needs and goals has been devel-
                    oped. . . . This process involves costing out the services and
                    supports using the rates for providers chosen by the partici-
                    pant and the number of hours authorized by the IPOS. The
                    rate for directly employed workers must include [taxes, un-
                    employment insurance, and workers compensation].

        467. The implementation of the WCCMH/CMHPSM top-down budgeting

              system in May 2015 breached the obligation of Section 3.0 of the

              Statement of Work that CMHPSM “provide covered state plan or

              1915(c) services (for beneficiaries enrolled in the 1915(c) Habilitation




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              Supports Waiver) in sufficient amount, duration and scope to reasona-

              bly achieve the purpose of the service.”

        468. The implementation of the WCCMH/CMHPSM top-down budgeting

              system in May 2015 breached the obligation of Section 3.0 of the

              Statement of Work that CMHPSM “services to recipients shall not be

              reduced arbitrarily.”

        469. The service limitations effected by the implementation of the

              WCCMH/CMHPSM top-down budgeting system in May 2015 were

              not implemented to promote, but in fact flew in the face of, medical

              necessity, and they were not effected pursuant to “utilization control

              procedures that are consistent with the medical necessity crite-

              ria/service selection guidelines specified by MDHHS and based on

              practice standards,” so that they breached Section 3.0 of the Statement

              of Work for this reason as well.

        470. The service limitations effected by the implementation of the

              WCCMH/CMHPSM top-down budgeting system in May 2015

              breached the assurance in Appendix C-4 of the HSW Application that

              “[t]he State does not impose a limit on the amount of waiver services

              except as provided in Appendix C-3” (which does not have any limits

              applicable here).


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        471. The service limitations effected by the implementation of the

              WCCMH/CMHPSM top-down budgeting system in May 2015

              breached the obligation of Appendix D-1 that the budget be sufficient

              to implement the IPOS.

        472. The imposition of the WCCMH/CMHPSM top-down budgeting sys-

              tem in May 2015 breached the obligation that the individual budget be

              determined by costing out the services and supports in the IPOS, be-

              cause “costing out” involves applying actual rates to services listed,

              not imposing arbitrary limits based on what was left over in a pre-

              determined cap after other services had been accounted for.

        473. The imposition of the WCCMH/CMHPSM top-down budgeting sys-

              tem in May 2015 breached the obligation that the individual budget be

              determined by using the rates for providers chosen by the participant

              and the number of hours authorized by the IPOS, because the provid-

              ers’ rates (which had been previously approved) were not used, but

              the rates payable were reduced based on what was left over in a pre-

              determined cap after other services had been accounted for.

        474. The individual Plaintiffs and the members of WACA are entitled to an

              injunction requiring Defendant Gordon to enforce the PIHP Contract

              for the benefit of Plaintiffs and the members of WACA and reverse


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              the May 2015 decision of CMHPSM and WCCMH to impose top-

              down budgeting.

        475. The individual Plaintiffs and the members of WACA are entitled to an

              injunction requiring Defendant Terwilliger to require Defendant

              CMHPSM to comply with the PIHP Contract for the benefit of Plain-

              tiffs and the members of WACA and reverse the May 2015 decision

              of CMHPSM and WCCMH to impose top-down budgeting.

        476. The individual Plaintiffs and the members of WACA are entitled to an

              injunction requiring Defendant CMHPSM to reverse the May 2015

              decision of CMHPSM and WCCMH to impose top-down budgeting.

    COUNT X – VIOLATION OF MICHIGAN MENTAL HEALTH CODE –
     VIOLATION OF MCL 330.1722(1) (All Plaintiffs Against Defendants
                      WCCMH and CMHPSM)

        477. Plaintiffs incorporate all paragraphs above.

        478. The Michigan Mental Health Code provides that no “recipient of men-

              tal health services shall . . . be subjected to abuse or neglect.” MCL

              330.1722(1).

        479. “Neglect means an act or failure to act” by, among others, a CMH

              agency, “that denies a recipient the standard of care or treatment to

              which he or she is entitled under this act.” MCL 330.1100b(19) (in-

              ternal quotation marks omitted).


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        480. A recipient is entitled to “mental health services suited to his or her

              condition.” MCL 330.1708(1).

        481. Defendants’ failure to provide Plaintiffs with mental health services

              suited to their condition amounts to neglect.

        482. Michigan’s Mental Health Code also provides that “[t]he responsible

              mental health agency for each recipient” shall provide a written indi-

              vidual plan of service addressing, “as either desired or required by the

              recipient, the recipient’s need for . . . health care . . . transportation,

              and recreation.” MCL 330.1712(1).

        483. As alleged above, the IPOS and its implementing budget are interde-

              pendent. One cannot exist without the other. Since May 2015, howev-

              er, Defendants WCCMH and CMHPSM do not provide CLS partici-

              pants with actual budgets tied to the services and supports listed in the

              IPOS but only with a single, top-line amount that is calculated solely

              from staff hours and does not include separate calculations for, among

              other things, transportation and recreation.

        484. Defendants’ failure to provide Plaintiffs and the members of WACA

              with an actual budget explicitly referring to transportation and recrea-

              tion constitutes a failure to provide Plaintiffs with a written IPOS ad-




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              dressing their needs for health care, transportation, and recreation and

              amounts to neglect.

        485. Plaintiffs and the members of WACA seek by this action injunctive

              relief against Defendants WCCMH and CMHPSM under MCL

              330.1722(3) to prevent the continuation of this neglect.

                               RELIEF REQUESTED

     A. Assume jurisdiction in this case;

     B. Declare unlawful the rate reduction and new budget calculation imposed by
        Defendants WCCMH and CMHPSM and acquiesced in by Defendant
        Gordon on behalf of the Department;

     C. Declare unlawful Defendants’ denial of participants’ right to self-
        determination generally;

     D. Preliminarily and permanently enjoin Defendants from continuing to impose
        the new budget calculation method and/or any other method not in
        conformity with the assurances given and obligations assumed under the
        Habilitation Supports Waiver;

     E. Preliminarily and permanently enjoin Defendants from denying participants
        their right to procedural due process;

     F. Preliminarily and permanently enjoin Defendants WCCMH and CMHPSM
        from refusing to reinstate the pre-May 15, 2015 level of funding and services
        to Plaintiffs and to all other CLS service recipients until lawful IPOS
        meetings are conducted and CLS service recipients are offered notice of any
        proposed cuts and an opportunity to be heard regarding any objections they
        may have to the cuts;

     G. Preliminarily and permanently enjoin Defendants from continuing to deprive
        CLS service recipients of CLS services in the most integrated setting
        appropriate to their service needs;


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     H. Assume continuing jurisdiction as may be necessary to monitor and enforce
        any relief granted;

     I. Award Plaintiffs costs and reasonable attorney fees as provided by law; and

     J. Grant such other relief as is just and proper.

  Respectfully submitted,


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  February 11, 2019




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                            CERTIFICATE OF SERVICE

        I hereby certify that on February 11, 2019 I electronically filed the foregoing
  paper with the Clerk of the Court using the ECF system, which will send notification
  of such filing to all counsel of record.


  Respectfully submitted,


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